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                      EXHIBIT G
                  FILED UNDER SEAL
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                     In the Matter of:

FTC, et al. v. Quincy Bioscience Holding, et al.

                 August 7, 2020
      Kenneth Lerner - 30(b)(6) - Confidential




               Condensed Transcript with Word Index




                 For The Record, Inc.
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                                Lerner - 30(b)(6) - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                    8/7/2020
                                                     1                                                        3
  1             UNITED STATES DISTRICT COURT               1        ON BEHALF OF CORPORATE DEFENDANTS:
  2            SOUTHERN DISTRICT OF NEW YORK               2             JACLYN M. METZINGER, ESQUIRE
  3                                                        3             GEOFFREY W. CASTELLO, III, ESQUIRE
  4   FEDERAL TRADE COMMISSION and )                       4             GLENN T. GRAHAM, ESQUIRE
  5   THE PEOPLE OF THE STATE OF    )                      5             Kelley Drye & Warrent
  6   NEW YORK, BY LETITIA JAMES,   )                      6             101 Park Avenue
  7   ATTORNEY GENERAL OF THE STATE )                      7             New York, New York 10178
  8   OF NEW YORK,                  )                      8             (212) 808-7800
  9        Plaintiffs,              )                      9             jmetzinger@kelleydrye.com
 10         -vs-                    ) Case No.            10
 11   QUINCY BIOSCIENCE HOLDING     ) 1:17-CV-00124-LLS   11        ON BEHALF OF DEFENDANT UNDERWOOD:
 12   COMPANY, INC., a corporation, )                     12             MICHAEL B. de LEEUW, ESQUIRE
 13   et al.,                       )                     13             TAMAR S. WISE, ESQUIRE
 14        Defendants.              )                     14             Cozen O'Connor
 15   ------------------------------)                     15             45 Broadway Atrium, Suite 1600
 16                                                       16             New York, New York 10006
 17         CONFIDENTIAL - ATTORNEYS' EYES ONLY           17             (212) 908-1331
 18                                                       18             mdeleeuw@cozen.com
 19             The 30(b)(6) deposition of KENNETH        19
 20   LERNER was taken on Friday, August 7, 2020,         20        ALSO PRESENT:
 21   commencing at 8:37 a.m., remotely, before           21             Isaac Horner, Videotape Operator
 22   Tammy S. Newton, Notary Public.                     22
 23                                                       23
 24                                                       24
 25                                                       25


                                                     2                                                        4
  1                 A P P E A R A N C E S                  1                       I N D E X
  2        ON BEHALF OF PLAINTIFF:                         2   WITNESS:                                   PAGE:
  3             MICHELLE RUSK, ESQUIRE                     3   KENNETH LERNER - 30(b)(6)
  4             ANNETTE SOBERATS, ESQUIRE                  4        By Ms. Rusk                               8
  5             EDWARD GLENNON, ESQUIRE                    5        By Ms. Metzinger                        148
  6             WILL DUCKLOW, ESQUIRE                      6   KENNETH LERNER - INDIVIDUAL
  7             Federal Trade Commission                   7        By Ms. Rusk                             146
  8             600 Pennsylvania Avenue, N.W.              8
  9             Washington, D.C. 20850                     9   EXHIBITS:                                  PAGE:
 10             (202) 326-3148                            10   Number KL33 E-mail Chain                      15
 11             mrusk@ftc.gov                             11   Number KL34 Defendant's Quincy Bioscience,
 12                  and                                  12               et al., Supplemental Response     20
 13             KATE MATUSCHAK, ESQUIRE                   13   Number KL35 E-mail                            24
 14             Attorney General of the State of          14   Number KL36 Write-up on the Madison Memory
 15             New York                                  15               Test                              40
 16             Assistant Attorney General                16   Number KL37 Write-up on the Madison Memory
 17             Consumer Frauds and Protection Bureau     17               Test                              58
 18             28 Liberty Street                         18   Number KL38 Publication in "Advances in
 19             New York, New York 10005                  19               Mind-Body Medicine Journal"       76
 20             (212) 416-6189                            20   Number KL39 E-mail Chain                      90
 21             kate.matuschak@ag.ny.gov                  21   Number KL40 E-mail Chain                      96
 22                                                       22   Number KL41 Clinical Trial Synopsis of
 23                                                       23               the Madison Memory Study          99
 24                                                       24   Number KL42 Cover E-mail                     121
 25                                                       25   Number KL43 August 2016 Synopsis             122


                                                                                                1 (Pages 1 to 4)
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                                                       5                                                         7
  1    Number KL44 Metadata             123                 1            This is Kate Matuschak. I'm with the
  2    Number KL45 E-mail             130                   2    Office of the New York States Attorney General.
  3    Number KL46 Madison Memory Study Document 132        3            MS. METZINGER: Jaclyn Metzinger from
  4    Number KL47 E-mail             138                   4    Kelley Drye & Warren, LLP, counsel for the
  5                                                         5    corporate defendants. I have with me my
  6                                                         6    colleagues Geoffrey Castello and Glenn Graham
  7                                                         7    also from Kelley Drye & Warren, and Michael
  8                                                         8    de Leeuw and Tamar Wise from Cozen O'Connor who
  9                                                         9    are counsel for individual defendant Mark
 10                                                        10    Underwood.
 11                                                        11            VIDEOTAPE OPERATOR: Will the court
 12                                                        12    report, please, swear in the witness.
 13                                                        13            COURT REPORTER: Okay. Before I do,
 14                                                        14    does everyone stipulate to the following: No
 15                                                        15    party to the litigation will object to the remote
 16                                                        16    deposition on the grounds that the stenographer
 17                                                        17    may not have the legal authority to swear in the
 18                                                        18    witness?
 19                                                        19            MS. RUSK: This is the FTC, yes.
 20                                                        20            MS. METZINGER: Yes for the corporate
 21                                                        21    defendants.
 22                                                        22            MS. MATUSCHAK: Yes for the New York
 23                                                        23    Attorney General.
 24                                                        24            MR. de LEEUW: Yes for Mark Underwood.
 25                                                        25               KENNETH LERNER,

                                                       6                                                         8
  1           VIDEOTAPE OPERATOR: Here begins               1   after having been duly sworn remotely by the
  2    Disk 1 in the 30(b)(6) video deposition of           2   stenographer, was examined and testified as
  3    Kenneth Lerner taken in the matter of Federal        3   follows:
  4    Trade Commission, et al., V Quincy Bioscience        4       EXAMINATION BY COUNSEL FOR THE PLAINTIFF FTC
  5    Holding Company, Inc., et al., in the United         5   BY MS. RUSK:
  6    States District Court, Southern District of New      6       Q Good morning, Mr. Lerner. I know
  7    York, Case Number 1:17-CV-00124-LLS.                 7   that -- that we went over a bunch of instructions
  8           Today's date is August 7th, 2020, and         8   yesterday, but I was going to just quickly go
  9    the time on the video monitor is 8:37 a.m.           9   over them again today.
 10    Central Daylight Time. This deposition is being     10           I'll just remind you that if you don't
 11    held remotely via video conference.                 11   hear a question or you don't understand the
 12           The court reporter is Tammy Newton on        12   question, be sure to ask me, and I'll make sure
 13    behalf of For the Record. The video camera          13   that it's clear. You can -- if you realize an
 14    operator is Isaac Horner on behalf of For the       14   earlier answer was inaccurate or incomplete, let
 15    Record.                                             15   me know, and I'll allow you to correct it.
 16           Will Counsel, please, introduce              16           If you want to take a break, I only
 17    themselves and state whom they represent            17   request that you -- if there's a qui- -- question
 18    beginning with the party noticing the deposition.   18   pending, answer the question first, and then we
 19           MS. RUSK: This is Michelle Rusk from         19   can take a break. If you answer the question,
 20    the Federal Trade Commission. I have with me my     20   I'll assume that you heard it and understood it.
 21    colleagues Annette Soberats, Ed Glennon, and Will   21   And please remember to answer verbally so the
 22    Ducklow.                                            22   court reporter can take down your response.
 23           And Kate, you want to introduce              23           The reminders about the remote
 24    yourself?                                           24   deposition is that there should be no off-camera
 25           MS. MATUSCHAK: Sure.                         25   or unate- -- unannounced persons attending today.


                                                                                                  2 (Pages 5 to 8)
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                                                       9                                                      11
  1    I'm going to ask that all persons attending who      1   the 30(b)(6) witness for the Quincy companies, so
  2    don't have immediate need to speak, please turn      2   you will be responding in that manner. And I'm
  3    off their audio and video feed.                      3   going to introduce -- actually, I have introduced
  4           Mr. Lerner, you are testifying today          4   the notice of deposition for the 30(b)(6), which,
  5    from memory or using exhibits I introduce and not    5   if you go to Page 4 of the document, which is
  6    to rely on any other materials or notes or           6   Page 2 of the attachment, you will see that
  7    electronic devices. If you have any other            7   Topic I is the topic you've been des- --
  8    devices other than what you're using for AgileLaw    8   designated to testify for, which reads, "Without
  9    or for Zoom, please turn them off during the         9   regard to any time period, for the Madison Memory
 10    deposition.                                         10   Study, the protocol, design, implementation,
 11           You are not to consult with any              11   analyses of results, write-up, peer review, and
 12    outside sources of information including cell       12   publication of the study and all persons and
 13    phones during the deposition or text or messaging   13   entities involved."
 14    services.                                           14          Mr. Ler- -- Mr. Lerner, are you
 15           Do you understand those restrictions?        15   prepared to answer questions with tha- -- with
 16       A Yes. I'll just turn my phone off.              16   respect to that topic?
 17       Q Okay. And do you agree --                      17       A Yes, I am.
 18       A Yes.                                           18       Q Okay. So before I introduce any other
 19       Q Okay. And during the deposition,               19   exhibits, I just want to ask you a few questions
 20    you're not to communicate with your attorney or     20   about how records are kept for the Madison Memory
 21    anyone else except over the Zoom audio and video    21   Study.
 22    feed and the only exception is during breaks.       22          Can you describe for me what kind of
 23           Do you understand that?                      23   records exist at the company related to the
 24       A Yes.                                           24   Madison Memory Study?
 25       Q Okay.                                          25       A I don't understand exactly what you're

                                                      10                                                      12
  1           MS. METZINGER: And, Michelle, I would         1   asking for.
  2    also just like to confirm on the record that         2      Q Well, I'm asking for general
  3    we're proceeding in the same way that we did         3   description of what kind of files and documents
  4    yesterday with respect to confidentiality of the     4   and binders might be kept for Madison Memory
  5    transcript and that pursuant to the protective       5   Study.
  6    order, we will treat today's transcript as -- as     6      A We kept -- we have binders containing
  7    attorneys' eyes only pending our receipt of the      7   participant information, their applications. We
  8    transcript and our ability to review and make        8   have binders containing the printouts from their
  9    more specific designations.                          9   results from Cogstate. There are binders that
 10           MS. RUSK: Yes, that's correct.               10   contain analysis of the data. I'm trying --
 11    BY MS. RUSK:                                        11   that's what I recall right at the moment.
 12       Q Mr. Lerner, I have to ask you again,           12      Q Okay. And are those paper files or
 13    do you have any conditions or are you taking any    13   electronic files?
 14    medications that would affect your ability to       14      A There -- those are paper files. There
 15    understand my questions and to answer?              15   are electronic files which are various
 16        A No.                                           16   spreadsheets with -- some of which you showed
 17       Q And you understand that you've been            17   yesterday. There -- there's analysis, there
 18    sworn an oath to answer my questions fully and      18   wri- -- drafts for write-ups and thoughts.
 19    truthfully?                                         19   Without -- that's what I can recall.
 20        A Yes.                                          20      Q Okay. And does everybody in the
 21       Q And there's no reason you can think of         21   company have access to the electronic files?
 22    why you would not be able to do that?               22      A No. Electronic files access is
 23        A No.                                           23   restricted to -- was restricted to people in the
 24       Q Okay. So I just want to make clear             24   research team, our I.T. person, and I believe --
 25    for everyone that today we are deposing you as      25   and I believe the management team.

                                                                                                3 (Pages 9 to 12)
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                                                      13                                                         15
  1       Q And can you tell me who the management          1   were done through SurveyMonkey.
  2    team is?                                             2      Q Okay. So would those responses be in
  3       A I know that Mark Underwood has access.          3   the custody of SurveyMonkey?
  4       Q Okay. But you're not sure if anybody            4       A They were -- they're in their server
  5    else would be on the management team?                5   now. I do -- I believe -- I believe that they --
  6       A I -- I -- I do -- I do not know.                6   we may have downloaded them, but I do not -- I do
  7       Q Okay. And in terms of the research              7   not know for certain.
  8    team, people who have access, who would those        8      Q So do you know whether those responses
  9    people be?                                           9   were produced to us?
 10       A Currently or --                                10       A I do not know.
 11       Q Yes.                                           11      Q Okay. Okay I'm going to introduce an
 12       A -- at that time?                               12   exhibit, which I am marking as KL33, which is a
 13           Currently myself, I think I'm probably       13   continuation from yesterday's exhibit numbers,
 14    the only person that has access to them outside     14   and the Bates number is QUI-FTCNY-00169670.
 15    our I.T. person and anyone on the management        15     (Exhibit Number KL33 was marked by Counsel.)
 16    team.                                               16   BY MS. RUSK:
 17       Q Okay. And at the time the study was            17      Q And, Mr. Lerner, this is an e-mail
 18    being conducted?                                    18   chain between you and Taylor Gabourie referring
 19       A Anybody that was working for me either         19   to the Madison Memory Study in June 2013; is that
 20    directly or indirectly would have had access.       20   correct?
 21       Q Okay. Were there records kept of               21       A That's what it says, yes.
 22    participants' responses to the AD8 questionnaire?   22      Q Okay. Do you recognize this e-mail?
 23       A Yes.                                           23       A I -- I have -- I -- it -- it looks
 24       Q And where would those be?                      24   very -- it looks familiar. I can't say I
 25       A Those are kept -- those were --                25   recognize the exact e-mail before looking at it.

                                                      14                                                         16
  1    responses were acquired by SurveyMonkey, and I do    1      Q Okay. Well, you -- you can take your
  2    not know if we have printouts of all of those,       2   time to look through it. I think it's a few
  3    but tho- -- they are -- the data has been            3   pages. It might be a little bit on the third
  4    downloaded, and it's in various spreadsheets, and    4   page.
  5    it still resides on the SurveyMonkey's --            5      A This -- this does look familiar.
  6    SurveyMonkey servers.                                6      Q Okay. And in looking at the bottom of
  7        Q Okay. Do you know if those AD8                 7   that e-mail, on Page 2, there's an e-mail from
  8    questionnaires, the screening tests, were            8   Mr. Underwood to you about the Men- -- Madison
  9    produced to Plaintiffs?                              9   Memory Study on June 11th, 2013.
 10        A The individual responses --                   10
 11        Q Yes.                                          11
 12        A -- or -- or the -- I do not know.             12
 13        Q In addition to the Cogstate tests, we         13
 14    talked yesterday about other questionnaires that    14
 15    were administered as part of the study: the         15
 16    quality of life questionnaire, the sleep            16
 17    questionnaire; I'm not sure if there was another    17          Do you see that?
 18    one.                                                18      A Yes.
 19             Can you tell me, were those                19      Q So this was in 2013, and that was
 20    administered at each testing session?               20   after the Madison Memory Study was already
 21        A Yes, I believe they were.                     21   completed; is that correct?
 22        Q And what kind of records were kept for        22      A Yes.
 23    those questionnaires?                               23
 24        A Those que- -- the qualitative                 24
 25    questions that were asked of each testing session   25


                                                                                              4 (Pages 13 to 16)
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                                                       17                                                       19
  1        MS. METZINGER: Objection.                         1   there are any records relating to the Madison
  2    BY MS. RUSK:                                          2   Memory Study that are in the possession of a
  3                                                          3   third party? And when I -- when I ask that
  4                                                          4   question, I'm not talking about documents that
  5                                                          5   Quincy also has. I'm talking about documents
  6                                                          6   that would only be in the possession of a third
  7                                                          7   party.
  8                                                          8      A I'm sorry. Can you repeat your
  9                                                          9   question?
 10                                                         10      Q Yes. That was very long-winded.
 11                                                         11          Are there any records relating to the
 12          MS. METZINGER: Objection.                      12   Madison Memory Study that would only be in the
 13          THE WITNESS:                                   13   possession and control of a third party, not
 14                                                         14   Quincy?
 15    BY MS. RUSK:                                         15          MS. METZINGER: I'm -- I'm just going
 16                                                         16   to caution the witness that if, to answer that
 17                                                         17   question, he would be required to divulge
 18                                                         18   privileged information that you refrain from
 19                                                         19   doing so.
 20                                                         20          THE WITNESS: Ms. Rusk, I believe --
 21                                                         21   well, SurveyMonkey has data stored there.
 22           And I believe you described to me the         22   Cogstate has data stored on their servers.
 23    results folder yesterday, but can you tell me        23   Although for both of those, we have -- we have
 24    what the meeting note handouts refers to?            24   copies of those in-house.
 25       A I'm -- I'm sorry. Can you repeat                25   BY MS. RUSK:

                                                       18                                                       20
  1    your -- the last part of your question.               1     Q       Okay.
  2        Q Yes. Can you tell me what her                   2     A       I'm not aware of any other documents.
  3    reference to the meeting note handout refers to?      3     Q       Okay. Thank you.
  4        A I believe she's referring to handouts           4           All right. I'm going to introduce
  5    that we would have had at interim meetings during     5   another exhibit, which was previously marked
  6    the write-up of the Madison Memory Study.             6   yesterday as Exhibit -- oh, no. It was not
  7        Q Okay. And can you describe what kind            7   previously marked. Excuse me. I'm marking it as
  8    of handouts would be included within that             8   Exhibit KL34.
  9    category?                                             9     (Exhibit Number KL34 was marked by Counsel.)
 10        A Similar to -- I believe that what              10   BY MS. RUSK:
 11    she's referring to is similar to the results --      11       Q And this does not have a Bates number.
 12    some of the results exhibits that you showed         12   It is a -- it is the Defendant's Quincy
 13    yesterday.                                           13   Bioscience, et al., supplemental response and
 14        Q Okay. And those would have been --             14   objections to Plaintiffs' second set of
 15    would those have been paper documents in some        15   Interrogatories.
 16    kind of binder?                                      16           And, Mr. Lerner, I'd like to get
 17        A The ones that you showed yesterday             17   clarification from you about Quincy's response to
 18    were paper documents, and I believe they would       18   an Inter- -- Interrogatory about the Madison
 19    have been -- they were paper documents at the        19   Memory Study, and if you could go to Page 20 --
 20    meeting. Whether they were stored electronically     20   actually, I can show you that page so that you
 21    is I believe what I'm asking for here.               21   don't have to scroll down. At the bottom of that
 22        Q Okay. Do you know if the meeting note          22   page, Interrogatory Number 11, do you see that?
 23    handouts was produced to us?                         23       A Yes.
 24        A No, I don't know.                              24       Q And the Interrogatory says,
 25        Q Okay. Mr. Lerner, can you tell me if           25   "Regardless of time period, with respect to the


                                                                                               5 (Pages 17 to 20)
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                                                       21                                                       23
  1    Madison Memory Study, indicate the number of          1   not.
  2    participants enrolled in the study broken down by     2       Q Was there anything about the AD8 score
  3    treatment and control group, the number of            3   listed as an exclusion criteria for the study?
  4    dropouts in each group, and the number of             4       A No.
  5    participants in each group who completed the          5       Q Was there anything in the protocol
  6    study."                                               6   indicating that the study was limited to a
  7           Is that accurate?                              7   population of AD8 0-2?
  8       A I believe you read it correctly, yes.            8       A No.
  9       Q Okay. And if you could go to the next            9       Q Mr. Lerner, were you involved in
 10    page, please, I'm interested in the response that    10   writing different papers presenting the results
 11    starts towards the bottom of Page 21. And I will     11   of the Madison Memory Study?
 12    read that into the record. It says, "Defendants      12       A I was involved in writing various
 13    further respond that a total of 218 participants     13   papers. I don't know if -- I wasn't involved in
 14    were enrolled in the study with 211 completing       14   writing all papers --
 15    the study.                                           15       Q Okay.
 16           "There were 100 individuals in the            16       A -- to my knowledge.
 17    target pop- -- population (AD8 0-2). Sixty of        17       Q For those you were involved with, has
 18    those individuals received apoaequorin, and 40 of    18   the Madison Memory Study ever been described in
 19    those individuals received a placebo.                19   any of those papers as a study of 100 people?
 20    Individuals with AD8 scores of 3 or higher were      20       A I don't -- I don't remember.
 21    not included in the study. 118 individuals with      21       Q So you don't know if any write-up of
 22    an AD8 score of 3 or higher were enrolled but not    22   any paper you were involved with writing, whether
 23    included in the study."                              23   it was published on the website or published in
 24           So my question is, Can you explain to         24   the journal, ever indicated that 118 people were
 25    me what is meant in that response by "not            25   not included in the study?

                                                       22                                                       24
  1    included in the study" where it says, "118            1      A No, I don't remember.
  2    individuals with AD8 scores of 3 or higher were       2      Q Okay. Well, we'll go over those
  3    enrolled but not included in the study"?              3   write-ups.
  4        A Those were individuals who were not             4          Did any of those write-ups that you
  5    in -- whose AD8 score placed them outside the         5   were involved in indicate that a score of 3 or
  6    target of the apoaequorin supplement.                 6   above on the AD8 was an exclusion criteria?
  7        Q When you say "target," are you saying           7      A I d- -- I don't believe those words
  8    target of intended consumer or target of the          8   were ever used.
  9    Madison Memory Study?                                 9      Q Was there any write-up that you were
 10        A The -- the -- the -- the intended              10   involved in that recorded only results from the
 11    consumer.                                            11   AD8 0-2 group?
 12        Q Okay. But in what sense were those             12      A I don't remember.
 13    118 individuals not included in the Madison          13      Q Okay. Well -- I'm sorry. I didn't
 14    Memory Study?                                        14   mean to cut off.
 15        A They were not -- they're not included          15      A I don't -- I don't remember.
 16    in -- individuals with AD8 scores of 3 or higher     16      Q Okay. Well, why don't we go through
 17    were not the target -- were not the target for       17   some of those write-ups.
 18    the product and what we were looking at in the       18          I am introducing as Exhibit KL35 a
 19    study. We were -- the study was performed to         19   document with -- excuse me. I'm having trouble
 20    determine the effect of the supplement on our        20   with my mail -- a document with the Bates Number
 21    target market, which is individuals with AD8 0-2.    21   QUI-FTCNY-00107408.
 22        Q Was there anything in the protocol             22     (Exhibit Number KL35 was marked by Counsel.)
 23    that specified that people with AD8 scores of 3      23   BY MS. RUSK:
 24    or higher would not be included in the study?        24      Q And, Mr. Lerner, if you just want to
 25        A No. I believe there -- no, there was           25   take a minute to look through that document.


                                                                                               6 (Pages 21 to 24)
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                                                      25                                                   27
  1          Mr. Lerner, does this look familiar to         1
  2    you?                                                 2
  3       A Yes.                                            3
  4       Q Okay. This -- is the e-mail from you            4
  5    to Mr. Underwood on June 30, 2011?                   5
  6                                                         6
  7                                                         7
  8                                                         8
  9       A I'm sorry. I'm not looking at the               9
 10    e-mail.                                             10
 11                                                        11
 12                                                        12
 13                                                        13
 14                                                        14
 15                                                        15
 16                                                        16
 17                                                        17
 18                                                        18
 19                                                        19
 20                                                        20
 21                                                        21
 22      Q Okay.                                           22
 23      A I don't -- I don't remember.                    23
 24      Q Okay. So did you draft the attached             24
 25    write-up of the study?                              25

                                                      26                                                   28
  1       A I believe so, yes.                              1
  2       Q Okay. And do you know for what                  2
  3    purpose this was being written up?                   3
  4       A I don't remember the purpose of -- I            4
  5    drafted this.                                        5
  6                                                         6
  7                                                         7
  8                                                         8
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 24                                                        24
 25                                                        25   Q   Okay. And can you tell me -- can you


                                                                                            7 (Pages 25 to 28)
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  1    explain to me how the assignment to the control      1      Q Okay. And who had access to that list
  2    and experimental arm was kept blinded?               2   other than you? Anybody?
  3            COURT REPORTER: What was the end of          3      A I believe I was the only person who
  4    your question?                                       4   had access to that.
  5            MS. RUSK: I'm sorry. How the                 5      Q Okay. So other than you, did anybody
  6    assignment to the control or placebo arm was         6   know which participants were assigned to which
  7    "kept blinded."                                      7   group?
  8            THE WITNESS: I'm trying to remember          8      A No.
  9    the process. This was 11 years ago. We ran           9      Q And except for your awareness of those
 10    number generator; generated a set of numbers.       10   assignments, was the study kept blinded until it
 11    Random number, generated a set of numbers. We       11   was complete?
 12    specified how -- how you wanted the arms -- a       12      A As I understand your question, "was
 13    50:50 ratio or a 40:60 ratio, and the random        13   the study" -- "study kept blinded," I believe I
 14    number generator generated a list of numbers.       14   mentioned that individual participants, when they
 15            I -- I remember this different from         15   completed the study, I was asked by the person
 16    my -- what I said yesterday; that they generated    16   who proctored them to determine whether they were
 17    a list of numbers in an A and a B group that was    17   taking placebo or taking experimental substance.
 18    starting at 1. And those numbers, if -- it might    18   And so that individual -- the proctor would have
 19    have been the -- the A group was 1, 3, 9, 10, 11,   19   known that Participant 35 who just completed --
 20    14, whatever the nu- -- genera- -- number           20   or whatever number -- they would be telling them
 21    generated, and those people in the fo- -- forty     21   they were on placebo or they were on product.
 22    grou- -- in the two group was the control arm;      22          So that point, they were applying, but
 23    the 3 group was the experimental arm.               23   they didn't know what group that person was in.
 24            Those numbers were then lined up if         24   So even if they -- they woul- -- I guess my
 25    they were in whatever arm that was assigned,        25   answer is yes, it's blinded. It was blinded

                                                      30                                                       32
  1    either an A or a B. I -- I knew what A was and B     1   from --
  2    was, but that was never shared with anybody who      2      Q Okay.
  3    interacted with the subjects or with the data        3      A -- the point --
  4    until subjects were complete. When the subject       4      Q Okay. Let me ask you about that to
  5    completed, I would go back to the blind sheet,       5   make sure I understand. So you're saying as -- I
  6    which they got -- I -- only I had access to and      6   ga- -- I gather there was a rolling enrollment
  7    would reveal to that subject, because we had said    7   for the study, as I understand it?
  8    that we would tell them what they were on, what      8      A Yes.
  9    their blind was.                                     9      Q And as -- as a participant completed
 10    BY MS. RUSK:                                        10   the study, the proctor would ask you for which
 11       Q Okay. So was that initial generation           11   group they were in so they could tell the
 12    of random numbers where you said it lined up, was   12   participant?
 13    that lining up with the subject I.D.?               13      A Yes. We focused -- they would be told
 14            Is that what you meant?                     14   what they were in.
 15       A I -- we -- the subject I.D. -- we had          15      Q So the proctors learned of the group
 16    our subject I.D.s going 1 through whatever, and     16   assignment as the participants left the study?
 17    we used that -- the numbers generated by the        17      A The -- after the participant had
 18    random number generator. They started at 1 and      18   completed all parts of the study, they -- they
 19    went to however many we specified. Broke them       19   were told what -- what they were on, which arm
 20    into the two groups, and then whichever group       20   they were in.
 21    they landed in, that -- that subject got that --    21      Q And they were told that -- okay. So
 22    was in that group.                                  22   they were told that by the proctor. Okay.
 23        Q Okay. Was that original random                23      A Yes.
 24    generation, original assignment key preserved?      24      Q Okay. Did anyone who worked on data
 25       A I do not remember.                             25   analysis know the assignments of any participant

                                                                                              8 (Pages 29 to 32)
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                                                       33                                    35
  1    before all the subjects had completed the study?      1   A   Yes.
  2        A No. The -- the assignment of                    2
  3    participants was kept blinded until the study was     3
  4    completed.                                            4
  5        Q Okay.                                           5
  6        A Sorry.                                          6
  7        Q So --                                           7
  8        A Let me -- let me -- please ask your             8
  9    question again. I'm --                                9
 10        Q I was asking you if anybody who was            10
 11    involved in data analysis knew any assignment of     11
 12    any participant before -- I asked you before the     12
 13    study, all participants had completed the study.     13
 14        A Taylor performed -- there was an               14
 15    initial analysis, but that -- the participant --     15
 16    there was not a linkage between the participant      16
 17    name and the data, at least at that time.            17
 18    There -- she wasn't unblinded there.                 18
 19                                                         19
 20                                                         20
 21                                                         21
 22                                                         22
 23                                                         23
 24                                                         24
 25                                                         25

                                                       34                                    36
  1                                                          1
  2                                                          2
  3          MS. METZINGER: Objection.                       3
  4          THE WITNESS: I'm going to say these             4
  5    are my own words. I'm -- I'm -- I don't               5
  6    understand what you're asking me.                     6
  7    BY MS. RUSK:                                          7
  8                                                          8
  9                                                          9
 10                                                         10
 11                                                         11
 12                                                         12
 13                                                         13
 14                                                         14
 15                                                         15
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 17                                                         17
 18                                                         18
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 20                                                         20
 21                                                         21
 22                                                         22
 23                                                         23
 24                                                         24
 25       Q    Okay. So you did it both ways?               25

                                                                              9 (Pages 33 to 36)
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                                                           37                                                      39
  1                                                              1   placebo?
  2        Q Okay. Can you tell me what your                     2          MS. METZINGER: Objection.
  3    reasoning was for recording these specific                3   BY MS. RUSK:
  4    results?                                                  4      Q Or why it wasn't done in this paper?
  5        A I do not recall when -- where this was              5          MS. METZINGER: Objection.
  6    in the analysis process, but the -- we -- I was           6          THE WITNESS: I -- as I said, I don't
  7    look- -- I was looking at what was being                  7   remember why it's not done there.
  8    produced, and our first look was at the 0-1, 0-2.         8   BY MS. RUSK:
  9    But I believe that Taylor also ran complete               9      Q Okay. Could you look -- look up at
 10    sample, and she ran some other slices. But the           10   Page 2 of this attachment. There's a poster here
 11    primary results we were -- we were looking at            11   or appears to be a draft poster. Does this
 12    were in the 0-1, 0-2 range, the AD8 scores in            12   refresh your recollection about why you were
 13    that range.                                              13   doing this write-up in June 2011?
 14                                                             14      A I'm not certain what this poster was
 15                                                             15   being created for.
 16                                                             16      Q Okay. Let's move on to a new exhibit.
 17                                                             17      A And --
 18                                                             18      Q I'm sorry. Go ahead.
 19                                                             19      A I -- I don't remember what -- I was
 20                                                             20   looking at this poster. I don't remember what
 21    at different populations for different tests?            21   this was being written for.
 22       A I don't recall why I -- those re- --                22      Q Okay. Let's look at the next exhibit,
 23    results were reported, and I don't know if this          23   and maybe that will help.
 24    was considered a final report or not. I don't            24          I am introducing as Exhibit KL36, a
 25    recall if this was their final or this was a             25   document with the Bates Number

                                                           38                                                      40
  1    draft.                                                    1   QUI-FTCNY-00100136.
  2       Q Do you know why some outcomes on                     2      (Exhibit Number KL36 was marked by Counsel.)
  3    Cogstate are booted all together from this                3   BY MS. RUSK:
  4    write-up? Because there are only four outcomes            4       Q And, Mr. Underwood [sic], if you
  5    reported here, and there -- and the write-up says         5   would, take a minute to look through this.
  6    there were 11 tests.                                      6           Let me know when you're ready.
  7       A There were 11 tests, and they all                    7       A Okay. I'm just looking at the
  8    measured different parts of cognitive                     8   figures.
  9    functioning, and I don't know why those weren't           9       Q Okay. Well, can you tell me generally
 10    reported, but I know -- what I see here is what          10   if this document looks familiar to you?
 11    was reported in this write-up.                           11       A Yes.
 12       Q Okay. Do you know whether these                     12       Q Okay. This appears to be a write-up
 13    results were selected because they were the              13   of the Madison Memory Study, and it includes a
 14    strongest results from the outcome?                      14   citation on the cover page -- if you could look
 15       A I don't remember why I selected those               15   at that -- to the Journal of Alzheimer's
 16    results.                                                 16   Association, July 1, 2011, with a citation.
 17       Q Okay. And many of the results in this               17           And the -- the date is July 2011, so
 18    paper discuss results within the apoaequorin arm.        18   is that shortly after the write-up we just
 19    Can you tell me why this paper doesn't discuss           19   reviewed?
 20    the comparison between placebo and treatment arm?        20       A By date, yes.
 21       A No, I can't. I don't re- -- I don't                 21       Q Okay. So do you think your write-up
 22    remember why.                                            22   in the last exhibit was a draft for this version
 23       Q But you don't know why, when you do a               23   of the Madison Memory Study paper?
 24    placebo-controlled study, you wouldn't include           24       A I believe it was a draft, yes.
 25    reports of treatment comparisons with the                25       Q Okay. And would the citation for


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  1    Journal of Alzheimer's Association -- would this     1   supplement publishing something presented at a
  2    document be the same as the version in that          2   conference, would this have gone through the
  3    journal?                                             3   peer-review process for this journal?
  4        A I -- I -- yes, I believe so.                   4      A I don't know.
  5        Q Okay. And it lists three authors               5      Q Okay. So you don't --
  6    there. Can you tell me why you're not listed as      6      A I'm not aware of how posters -- if it
  7    an author?                                           7   was a poster, how posters are reviewed.
  8        A No.                                            8      Q Okay. So you don't know whether there
  9        Q Okay. Were you involved in writing             9   was a peer-review process for this?
 10    this?                                               10      A I do -- I do not -- I do not know.
 11        A I would assume so. I -- I do not know         11      Q Okay. Do you know who would know
 12    why I'm not listed as an author.                    12   that?
 13        Q Okay. Can you tell me whether this            13      A No.
 14    was published on Quincy's website? I'm looking      14      Q So you don't know whether Mark
 15    at the bottom. It says, "Copyright Quincy           15   Underwood would know whether this went through
 16    Bioscience 2011."                                   16   peer review?
 17            Would this have been available on the       17          MS. METZINGER: Objection.
 18    Quincy website?                                     18          THE WITNESS: I don't -- I don't know
 19        A I don't know. I -- I don't -- I'm             19   what he knows.
 20    not -- I don't browse our website --                20   BY MS. RUSK:
 21        Q Okay.                                         21      Q Okay. Let's look at the paper. If
 22        A -- very often.                                22   you could go to the second page of the document,
 23        Q That's fine.                                  23   which is numbered at the bottom as Page 1, but
 24            So this was apparently reported in the      24   there is a section called "Methods," and under
 25    Journal of the Alzheimer's Association. Do you      25   "Methods," it mentions 218 participants; is that

                                                      42                                                       44
  1    know if it was formally submitted for publication    1   correct?
  2    in this journal?                                     2      A Yes.
  3        A I -- I don't know for -- why the               3      Q Okay. And that's the same number that
  4    listing on the first page, I'm assuming it's         4   was listed as the number of participants in the
  5    reporting -- is the sub-most -- I don't know what    5   prior write-up?
  6    "supplement part" refers to, whether the -- the      6      A Yes.
  7    Volume 7 (inaudible) --                              7      Q Okay. Can you tell me why, in this
  8            COURT REPORTER: I'm sorry. I                 8   version, there is no discussion about the 275
  9    couldn't understand you after you said the "part     9   participants and then dropouts?
 10    refers to."                                         10      A No.
 11            THE WITNESS: Sorry.                         11      Q You don't know why that information
 12            The first page says, "Volume 7 Issue 4      12   was not included?
 13    supplement, Page E65." I'm assuming that refers     13      A No, I don't.
 14    to a particular issue or supplement, but I'm not    14      Q Also, this version does not indicate
 15    sure exactly where that would -- where that was     15   on this page -- and we'll look further on in the
 16    published.                                          16   document -- how many Cogstate tests were used, I
 17    BY MS. RUSK:                                        17   don't believe. I'm looking at Page 2. Under
 18        Q Let me ask you this.                          18   "Methods," it talks about computer assess- --
 19            Do you know if that supplement would        19   assessments from Cogstate, and then, if you look
 20    have been from a presentation at a conference on    20   at Page 5 of the document where it describes
 21    Alzheimer's disease?                                21   methods more specifically, it says the Cogstate
 22        A I believe -- yes.                             22   research battery including measures for executive
 23        Q You think it was?                             23   function and other measures.
 24        A I believe it was, yes.                        24          But it doesn't say how many tests
 25        Q Okay. Okay. So if it were a                   25   there, does it?


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                                                      45                                                       47
  1       A No.                                             1   in there.
  2       Q So do you know why this doesn't                 2       Q Okay. If we could look at Figure 4,
  3    disclose that there were 11 tests from the           3   which is the 10th page of the document, the ISRL
  4    Cogstate battery that were administered?             4   results, because it's a little confusing to me
  5       A I don't -- I don't know why it doesn't          5   for this chart. The discussion about this figure
  6    say that.                                            6   and the Figure 4 report statistical significance
  7       Q Okay. If you want to look through, I            7   for Subgroups AD8 0-1 and AD8 2-5; is that
  8    did not see any indication in this write-up of       8   correct?
  9    how many outcomes were posted. And I've -- I've      9       A That's what it says, yes.
 10    shown you the two discussions of method, but if     10       Q And this is only within the treatment
 11    you want to look through, I'd like you to confirm   11   arm; is that correct?
 12    that there's no indication of how many outcomes     12       A Only -- I only see the treatment arm
 13    were part of this study.                            13   reported there.
 14       A The studies reporting -- there --              14       Q Okay. So those statistical
 15    there are however many -- there's not a --          15   significance, the asterisks in the chart that
 16    there's not anything that says 11 tests were        16   says, "P less than .05," that's referring to
 17    administered.                                       17   within apoaequorin arm?
 18       Q Okay. And under "participants" on              18       A Yes.
 19    Page 5, do you see -- yes. On the fifth page of     19       Q Okay. You said on the last exhibit
 20    the document where we were, do you see any          20   you're not sure why the 2-5 was reported for this
 21    inclusion or exclusion criteria that mentioned      21   outcome, correct?
 22    the AD8 score?                                      22       A No. I -- I don't recall.
 23       A I -- no. I don't know if that is the           23       Q Do you know why the -- if you look
 24    complete -- I don't believe that is the complete    24   back at the other chart on the previous pages,
 25    inclusion/exclusion criteria from the protocol.     25   they all include the placebo arm. Why is there

                                                      46                                                       48
  1       Q Well, does the protocol mention a AB8           1   no discussion of the placebo arm for this
  2    score in the inclusion or exclusion criteria?        2   outcome?
  3        A I believe I -- no. There's no mention          3       A I don't remember.
  4    of the AD8 score on this paper, and there was --     4       Q Can you tell me -- there was -- there
  5    I believe I testified yesterday there was none in    5   were five testing sessions for the Madison Memory
  6    the protocol.                                        6   Study, correct?
  7       Q Okay. Let's look at the results                 7       A Yes.
  8    reported, which is Page 7 through 10.                8       Q Can you tell me why this report for
  9            Seven through -- when I say "7 through       9   all of the charts excludes the Day 60 testing
 10    10," I'm talking about pages in this document.      10   session?
 11    So it first is discussing Groton Maze, and that     11       A I -- I don't -- I don't recall why
 12    includes Groton Maze Learning and Groton Maze       12   we -- Day 60 is not reported here. I don't
 13    Recall on that first page, correct?                 13   remember the discussions that led up for making
 14        A Yes.                                          14   these charts.
 15       Q And then on the next page, still               15
 16    Groton Maze Recall. The next page is One Card       16
 17    Learning, and the next page is International        17
 18    Shopping Recall List. So that -- that's four        18
 19    outcomes from Cogstate, and those are the four      19
 20    that were in the earlier paper we discussed         20         MS. METZINGER: Objection.
 21    previously in the exhibit; is that correct?         21         THE WITNESS:
 22            We can go back --                           22
 23        A I --                                          23
 24       Q -- if you're not sure.                         24   BY MS. RUSK:
 25        A I believe those are the four that were        25     Q Can you think of any reason why you


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  1    would exclude Day 60 from a -- a chart that has      1   7/26/2013, and it says, "Prepared by KC Lerner";
  2    five sessions; why you only plot four?               2   is that correct?
  3       A Your question is can I think of any             3       A Yes.
  4    reason for any chart or for this one?                4       Q So these were a series of charts that
  5       Q Well, presumably you were involved in           5   you prepared?
  6    the earlier write-up, I think you acknowledged,      6       A Yes.
  7    and I'm asking you, as someone who was involved      7
  8    in write-ups of the Madison Memory Study and as      8
  9    the corporate witness for this, can you explain      9
 10    why it would make sense to exclude one out of the   10
 11    five data points.                                   11
 12            MS. METZINGER: Objection.                   12
 13            THE WITNESS: I -- as I believe I            13      Q Okay. Do you want me to take you back
 14    already said, I don't underst- -- I don't recall    14   to that page?
 15    why that data point's not there, and I believe      15       A I -- I'm -- I'm looking at what's
 16    you're asking me to speculate why there -- I        16   there, so I -- I believe it's the same, yes.
 17    could poss- -- it possibly would not have been      17
 18    there, if I understand you correctly.               18
 19    BY MS. RUSK:                                        19
 20       Q Okay. Yes. And I don't want you to             20
 21    speculate, but I'm asking you as a 30(b)(6)         21
 22    witness, Do you have any knowledge of why Quincy    22
 23    did not report that data?                           23
 24            MS. METZINGER: Objection.                   24
 25            THE WITNESS: I -- I don't -- I don't        25

                                                     50                                                       52
  1    know why the data was not reported.                  1
  2    BY MS. RUSK:                                         2
  3        Q Okay. Do you know why on this chart,           3
  4    unlike the other charts for the other outcomes,      4
  5    there is no plot for the placebo arm?                5
  6        A No, I don't know why.                          6
  7        Q Okay. Is it possible that the placebo          7
  8    arm was pretty much the same as the treatment        8
  9    arm?                                                 9
 10           MS. METZINGER: Objection.                    10       MS. METZINGER: Objection.
 11    BY MS. RUSK:                                        11       THE WITNESS:
 12        Q Do you recall whether the placebo arm         12   BY MS. RUSK:
 13    was very similar to the treatment arm results?      13
 14           MS. METZINGER: Objection.                    14
 15           THE WITNESS: No, I don't recall.             15
 16    BY MS. RUSK:                                        16
 17        Q Okay. Well, let's take a look at the          17
 18    data on them. I'm going to reveal a document        18
 19    from yesterday that was marked Exhibit KL17.        19
 20           Mr. Lerner, do you have that document        20
 21    in front of you?                                    21
 22        A Yes, I do.                                    22
 23        Q Okay. And this is a document titled           23
 24    "MMS 2.1 Book xlsx." On the first page it says      24
 25    "ISL complete," and the date on the bottom is       25


                                                                                            13 (Pages 49 to 52)
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                                                      53                                                       55
  1                                                         1
  2                                                         2
  3                                                         3
  4                                                         4
  5          MS. METZINGER: Objection.                      5
  6          THE WITNESS:                                   6
  7                                                         7   BY MS. RUSK:
  8                                                         8      Q Right. I understand what you're
  9    BY MS. RUSK:                                         9   saying.
 10                                                        10      A Based on the P score.
 11                                                        11      Q
 12          MS. METZINGER: Objection.                     12
 13          THE WITNESS:                                  13
 14                                                        14
 15    BY MS. RUSK:                                        15
 16                                                        16
 17                                                        17
 18                                                        18
 19                                                        19
 20                                                        20
 21                                                        21
 22                                                        22
 23                                                        23
 24          MS. METZINGER:                                24         MS. METZINGER: Objection.
 25          THE WITNESS:                                  25         THE WITNESS:

                                                      54                                                       56
  1           MS. METZINGER: I think you say --             1
  2           MS. RUSK: I'm sorry. 0.019. Yes.              2
  3    0.019. Thank you.                                    3
  4           THE WITNESS: Yes, that's for the              4   BY MS. RUSK:
  5    Prevagen arm.                                        5       Q Well, why -- why do a
  6    BY MS. RUSK:                                         6   placebo-controlled study if you're not going to
  7       Q Okay. And the line graph for the                7   report on the placebo results?
  8    placebo arms follow pretty closely to that line      8          MS. METZINGER: Objection.
  9    for the Prevagen arm; is that correct?               9          THE WITNESS: Did -- why -- your
 10           MS. METZINGER: Objection.                    10   question was, again, why do a placebo-controlled
 11           THE WITNESS: I'm not sure how you're         11   study if I'm not reporting on the placebo?
 12    defining "closely."                                 12   BY MS. RUSK:
 13    BY MS. RUSK:                                        13       Q Sure. Especially when, on this
 14       Q Okay. If you're not -- okay. I won't           14   outcome, the placebo results are so close to the
 15    ask you to give your opinion on that.               15   treatment-arm results.
 16           My question is, Given how close these        16          MS. METZINGER: Objection.
 17    results are, the placebo and the Prevagen arm, is   17   BY MS. RUSK:
 18    that why you did not depict the placebo arm in      18       Q And if you look at the last exhibit
 19    the paper that we just reviewed?                    19   that we were just on, this is what it looks like
 20           MS. METZINGER: Objection.                    20   if you had shown both the placebo and the
 21           THE WITNESS: I don't recall. The --          21   Prevagen arm.
 22    on the previous page, it shows the P value for      22          MS. METZINGER: Objection.
 23    the placebo arm, which was, if I remember           23          MS. RUSK: That was a factual
 24    correctly, P point 0.071, which is greater than     24   statement of what this chart shows, Jaclyn. I --
 25    the null hypothesis, the significance level of      25   I did not even ask a question.

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  1             MS. METZINGER: To the extent you're           1   on this paper?
  2     characterizing what these charts show, I'm            2      A Yes.
  3     objecting to your characterization on the --          3      Q And if you look at the bottom, it
  4             MS. RUSK: I said this is what the             4   appears to have a date, "Quincy Bioscience 2014"?
  5     chart shows if you plot both placebo and              5      A Yes.
  6     Prevagen.                                             6      Q Okay. Can you tell me -- and is this
  7             MS. METZINGER: And what's the                 7   a paper that includes a -- a write-up of about
  8     question?                                             8   Madison Memory Study results?
  9             MS. RUSK: I'm asking him why you              9      A Yes.
 10     would not include the full picture of the outcome    10      Q Can you tell me if this version of the
 11     results in the paper write-up.                       11   paper was ever published in any journal?
 12             MS. METZINGER: Objection.                    12      A I don't know. I d- -- I don't know if
 13             MS. RUSK: What's your objection,             13   this version was published.
 14     Counsel?                                             14      Q Okay. Well, you are the 30(b)(6)
 15             MS. METZINGER: You have been                 15   witness on this topic. Do you know who would
 16     mischaracterizing these results in your last         16   know whether a 2014 paper was published in the
 17     series of questions and leading up to this           17   journal?
 18     question.                                            18           MS. METZINGER: Objection.
 19             MS. RUSK: Well, I don't think I've           19           MS. RUSK: Well, Counsel, this is the
 20     been mischaracterizing anything. I'm asking him,     20   30(b)(6) witness, and the scope includes the
 21     given these results, why he would not -- why         21   write-ups. I think this is a very basic
 22     there isn't a full picture of the results on the     22   question, and I would expect the witness to be
 23     outcome for the this paper.                          23   prepared to discuss the different write-ups of
 24             MS. METZINGER: I object to your use          24   the -- the journal. It's very clearly within the
 25     of the phrase "full picture."                        25   scope.

                                                        58                                                       60
  1    BY MS. RUSK:                                           1           MS. METZINGER: Michelle, you're
  2        Q Why -- why is only one arm of the                2   asking him to tell you who might know a question
  3    results depicted here without the placebo arm?         3   that he doesn't know the answer to.
  4        A I don't remember why we showed 0-1 and           4           MS. RUSK: Well, because he doesn't
  5    the 2-5 there. To -- I don't recall why the            5   know the answer to whether this was published,
  6    graph is made that way.                                6   and I -- I'm concerned that we don't have the
  7        Q Okay. Let's move on.                             7   right witness identified for this topic.
  8             I am marking as Exhibit KL37 a                8           MS. METZINGER: I'm not instructing
  9    document with the Bates Number QUI-FTCNY-0091501.      9   him not to answer. I'm just simply placing my
 10      (Exhibit Number KL37 was marked by Counsel.)        10   objection for the record.
 11    BY MS. RUSK:                                          11           THE WITNESS: As I understand, you're
 12        Q And, Mr. Lerner, if you could take a            12   asking me whether this version was published?
 13    minute to look through this document.                 13   BY MS. RUSK:
 14             Mr. Lerner, could you tell me if you         14       Q Correct.
 15    recognize this document.                              15       A And --
 16        A Yes, I believe I recognize this                 16       Q "Published in the journal" was my
 17    document.                                             17   question.
 18        Q Okay. If you could look at Page 1,              18       A Okay. I'm going to say no, this
 19    it's titled, "The Effects of the Calcium-Binding      19   version wasn't published. My -- because I
 20    Protein Apoaequorin on Memory and Cognitive           20   believe this was a write-up done internally.
 21    Function in Older Adults."                            21   It's not the write-up that got -- that's
 22             Is that a reference to the Madison           22   published in a journal because it would have the
 23    Memory Study?                                         23   journals -- it would be in a journal.
 24        A Yes.                                            24       Q Do you know if this version of the
 25        Q And you are listed among the authors            25   paper was ever submitted to any journal for

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  1    publication?                                        1   select- -- I don't know -- I don't recall how --
  2       A I do not.                                      2   who was involved in selecting results or in
  3       Q So do you know how this was made               3   what -- I don't remember everyone's involvement
  4    available? Was it made available on the             4   in particular parts of the paper. Sorry.
  5    company's website?                                  5      Q Okay. Would you remember whether you
  6       A Yes, I believe it was.                         6   were involved in selecting which results to
  7       Q Can you tell me why there is a new             7   report here?
  8    paper on the Madison Memory Study in 2014?          8       A I was involved in selection reports,
  9       A I would guess this -- I -- I don't --          9   yes, which --
 10    I don't know -- I don't -- excuse me. I don't      10      Q Okay.
 11    remember why there's a -- a different write-up     11       A -- is reported here.
 12    here.                                              12      Q Okay. So let's look at the substance
 13       Q Am I right that this is three years           13   of the paper. And if you go down to --
 14    after the Madison Memory Study was completed and   14           VIDEOTAPE OPERATOR: Sorry to
 15    the results were put in the supplement for the     15   interrupt, Ms. Rusk.
 16    Journal of Alzheimer's Association?                16           MS. RUSK: Yeah.
 17       A That's the -- what you showed me              17           VIDEOTAPE OPERATOR: This is the
 18    earlier, Exhibit I believe it was 36 --            18   videographer. We approaching the clip for a
 19       Q Mm-hmm.                                       19   minute. Are we good to go off the record for a
 20       A -- KL36 was done immediately after            20   moment?
 21    the -- the study was completed.                    21           MS. RUSK: Sure. You just need to
 22       Q Mm-hmm.                                       22   change your tape?
 23       A Since this was -- has a 2014 date, I          23           VIDEOTAPE OPERATOR: It would just be
 24    assume this is a more well-written report of the   24   a moment, yes.
 25    study.                                             25           MS. RUSK: Sure. Let's go off the

                                                    62                                                        64
  1       Q And am I correct this is three years           1   record for a minute.
  2    later?                                              2           VIDEOTAPE OPERATOR: Thank you.
  3       A It's listed as 2014, yes.                      3           Going off the record at 10:05.
  4       Q So of the authors listed on this paper         4            (A brief recess was taken.)
  5    back on Page 1, it lists Mark Underwood, Peggy      5           VIDEOTAPE OPERATOR: Going on the
  6    Sivesind, Taylor Gabourie, and you.                 6   record at 10:07.
  7       A Yes.                                           7   BY MS. RUSK:
  8       Q Is that everyone who was involved in           8      Q Okay, Mr. Lerner. We are discussing
  9    writing this paper?                                 9   Exhibit --
 10       A Yes.                                          10      A -- 37.
 11       Q Do you know if -- if Mr. Dan Moran had        11      Q -- 37. Thank you.
 12    any role in drafting this paper?                   12           If you could look at Page 4 of this
 13       A I don't recall.                               13   document where it says participants, 218
 14       Q Okay. Do you know, would these                14   participants, correct?
 15    authors have had a version in selecting which      15      A That's what it says, yes.
 16    results to be reported in this paper?              16      Q And it doesn't refer to 118
 17       A I'm sorry. I'm -- I don't understand          17   participants being excluded, correct?
 18    your question.                                     18      A No.
 19       Q Well, these are the authors of the            19      Q Okay. And then the inclusion and
 20    paper. There are certain results selected to be    20   exclusion crea- -- criteria, it doesn't mention
 21    written up in this paper. Would all of these       21   anything about the AD8 score being either an
 22    authors have played a role in selecting which      22   inclusion or exclusion criteria, correct?
 23    results are reported here?                         23      A Yes, that's correct.
 24       A I -- I would as- -- yes, I would              24      Q Turning to Page 5 of the document --
 25    assume so. I can't -- I don't remember who         25   well, it's listed as Page 5 at the bottom of the

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  1    page. I'm looking at two things here I wanted to     1   value is used to discriminate between those two
  2    ask you about -- well, perhaps three.                2   groups. Does it say that the individuals with
  3            In the methods, it lists a Cogstate          3   some levels of impairment are not included in the
  4    battery, but I believe it does not list the          4   study?
  5    number of Cogstate outcomes; is that correct?        5      A The sentence says that an AD8 score of
  6        A I'm sorry. You said "Cogstate                  6   2 was used as a cutoff value.
  7    outcomes"?                                           7      Q Correct.
  8        Q Cogstate tasks. Does it identify how           8      A That's all the sentence says.
  9    many Cogstate tasks were administered in this        9      Q And then it says "to discriminate
 10    study?                                              10   between" two groups, the normal and the
 11        A In the -- there's nothing in the              11   individuals with some level of cognitive
 12    methods section about that. I believe that is in    12   impairment, correct?
 13    the -- in the cognitive measurement tasks and       13      A Yes.
 14    tools tab, a heading at the bottom of the page.     14      Q So it's not saying the study isn't
 15        Q Okay. You're correct. On the next             15   looking at individuals with some level of
 16    page, Page 6, is that where you were looking at     16   cognitive impairment. It's saying it's
 17    the top? It says --                                 17   discriminating between those two groups, correct?
 18        A Bottom of -- bottom of Page 5 and then        18      A That's what the statement says,
 19    all of Page 6.                                      19   sentence says.
 20        Q Okay. Okay. So looking at the top of          20      Q Okay. In this write-up, in fact,
 21    Page 6, it lists the tasks used in the study, and   21   there are results reported for individuals with
 22    I'm just going to count: GML, GMR, ISL, ISL-DR,     22   scores above 2. So let's look at some of those
 23    OCL, TWOB, ONEB, DET, and -- and IND. That's        23   results.
 24    nine Cogstate tasks there.                          24          Okay. If you go to Page 13 of the
 25            Why does it not mention -- in the           25   document, it shows the ISL AD8 2-5 and the ISL-DR

                                                      66                                                       68
  1    earlier study, it -- it indicated there were 11.     1   AD8 2-5; is that correct?
  2    Why does it not mention the other two?               2      A I believe it shows the ISL-DR, the --
  3            MS. METZINGER: Objection.                    3   the -- the delayed recall. Both of those charts
  4            THE WITNESS: I don't -- I don't know.        4   are delayed recall.
  5    BY MS. RUSK:                                         5      Q Oh. Excuse me. You're right.
  6       Q Okay. Was the SET test administered             6           But the -- but the score's for AD8
  7    as the Cogstate task in this study?                  7   2-5, correct?
  8        A I'm sorry. Your question again.                8      A Yes.
  9       Q There was a -- when we went over the            9      Q So if you're using -- if the paper
 10    raw data yesterday, we -- we talked about a         10   says it's using a score of 2 as a cutoff between
 11    series of entries with scores on the spreadsheet    11   the two groups to discriminate between those two
 12    that referred to SET, various SET outcomes, and     12   groups, why report a result that includes 2 and
 13    I'm asking why that isn't identified in this list   13   goes up to 5? That would be presumably both
 14    of tasks.                                           14   groups that you're saying you're discriminating
 15        A I do not know why the SET checking            15   between.
 16    test is not here.                                   16      A I don't understand your question. I'm
 17       Q Okay. And at the bottom of Page 5,             17   sorry.
 18    under "AD8 Score," the last sentence says, "An      18      Q The discussion of AD8 score says 2 --
 19    AD8 score of 2 was used as a cutoff value to        19   the value of 2 was used as a cutoff to
 20    discriminate between cognitively normal             20   discriminate between two groups of the study,
 21    individuals with some level and individuals with    21   people who were normal and people who were
 22    some levels of cognitive impairment."               22   impaired. And this report, this subgroup,
 23            Do you see that?                            23   includes both. It includes people with a score
 24        A Yes, ma'am.                                   24   of 2 and people with a score higher than 2, and
 25       Q But it doesn't say -- it says that             25   I'm asking why.

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  1        A Well, I would -- I'm looking at the            1      Q Okay. So my question on that ISL --
  2    paragraph above that. (Unintelligible comment.)      2   ISRL -- ISLR test is, Why have people in both
  3        Q Okay.                                          3   groups of impairment in one analysis on the 2-5
  4             COURT REPORTER: What did you just           4   score?
  5    say? I'm sorry. What did you just say,               5      A I don't remember why that's there, why
  6    Mr. Lerner?                                          6   the 2-5 there.
  7             THE WITNESS: I was -- I'm looking at        7      Q Okay. Let's look at Page 7.
  8    the paragraph above Charts 10 and 11. And the        8           At the bottom of this page, there's
  9    first statement says, "Performance improvement on    9   discussion of effect size and Cohen's D effect
 10    the ISL-DR was also noted when additional subsets   10   scores.
 11    of the study population were segregated for         11           Do you see that?
 12    analysis," and --                                   12      A Yes.
 13    BY MS. RUSK:                                        13      Q And it says, "The experimental arm" --
 14        Q Okay.                                         14   this is reporting on the Groton Maze Learning
 15        A -- as you've shown previous exhibits,         15   outcomes. It says, "The experimental arm had a
 16    there were other AD8 groups that were analyzed,     16   Cohen's D effect score of 1.0 ending --
 17    as I said, we -- this study, we wanted to look at   17   "indicating a large effect for the experimental
 18    people who are cognitively normal or AD8 0-2.       18   substance"; is that correct?
 19    When -- but we have this other data. So we -- we    19      A That's what it says, yes.
 20    looked at it and we saw this.                       20      Q Okay. So let's look at Chart 1.
 21        Q Okay.                                         21           And the experimental arm is the blue
 22        A We're not saying this is what we're           22   line, correct?
 23    looking at -- I mean what we were going for.        23      A Yes.
 24    I -- I mean, it says there, other subsets were      24      Q So that sentence is indicating the
 25    segregated.                                         25   change from Day 0 to Day 90 in the experimental

                                                      70                                                       72
  1        Q Okay. Let me -- let me ask you this.           1   arm is a large effect size that was 1.0; is that
  2    The next sentence after the sentence you just        2   correct?
  3    read says, "For participants with AD8 scores         3       A The graph -- the -- the chart is
  4    between 2-5, indicating greater self-report- --      4   showing the percentage change. It's not showing
  5    reported cognitive difficulties." 2-5 indicates      5   the effect size.
  6    greater reported cognitive difficulties. But if      6       Q No. I'm not asking about the -- I'm
  7    you go back to the page that we were on earlier,     7   sorry if I was unclear. I'm asking you about the
  8    Page 5, it says an AD8 score of 2 was used as a      8   statement before about Effect Size 1.0 is -- is
  9    cutoff.                                              9   using the data from Day 0 to Day 90 in the
 10            So are you saying only 0-1 are in the       10   experimental arm.
 11    cognitively normal group and anybody with 2 or      11       A I believe that's correct, yes.
 12    before is cognitively impaired?                     12       Q Okay. So I guess I don't understand
 13            MS. METZINGER: Objection.                   13   what a large effect size means in a
 14    BY MS. RUSK:                                        14   placebo-controlled study. I thought it meant the
 15        Q Let me ask you this.                          15   effect size of the treatment compared to placebo.
 16            Is the AD8 -- which group -- you're         16            Is that not the right understanding?
 17    discriminating between two groups, according to     17       A I -- I believe the effect size, as I
 18    this sentence. Which group does an AD8 score of     18   understand it, refers to the effect of the
 19    2 fall into?                                        19   subject over time in -- within that group. I
 20        A I believe that the AD8 score of 0-2           20   don't believe it -- I don't believe it refers to
 21    falls -- falls into the                             21   the placebo. I believe it's referring to the
 22    little-or-no-cognitive-impairment group --          22   effect. Did the -- did the substance have what's
 23        Q Okay.                                         23   considered a -- a large effect. It's not --
 24        A -- in how it's described by the               24   effect doesn't address statistical significance.
 25    creator of the test.                                25   It's -- it's the cha- -- the effect of looking at

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  1    Day 0 to Day 90 or whatever the two points are.      1   the pages have the effect score on them.
  2       Q Okay. So maybe if you could explain             2      Q Within the arm.
  3    to me what "effect size" is meant to -- to be an     3      A Within arms, yes, ma'am.
  4    indication of.                                       4      Q Okay. So if you wanted to know the
  5            MS. METZINGER: Objection.                    5   effect size between the arms, would it be
  6            THE WITNESS: I'm not certain that my         6   possible to subtract one from the other, the
  7    statistical knowledge can give -- give an            7   effect size in the treatment arm from the effect
  8    accurate answer on this. But to my                   8   size in the placebo arm?
  9    understanding, it's -- it's looking at is the        9      A I don't know if that's statistically
 10    effect something that is noticeable. As I said,     10   appropriate.
 11    this is -- effect size coincidence is different     11      Q Okay.
 12    than a -- looking at a statistical significance     12      A If approp- -- if "appropriate" is the
 13    of P value.                                         13   correct word.
 14    BY MS. RUSK:                                        14      Q Okay. Mr. Lerner, we have been going
 15       Q Mm-hmm.                                        15   for over an hour and a half now, and so I'm
 16       A It was something that was suggested by         16   thinking it would be good to take a brief break
 17    Cogstate as one of the tools to analyze --          17   now.
 18       Q Okay. When you --                              18           MS. RUSK: So everyone, if that works
 19       A -- of the data.                                19   for you, Counsel, could we resume in 10 minutes?
 20       Q Okay. Thank you.                               20   Are you okay with that?
 21            When you say whether the effect is          21           MS. METZINGER: Sure.
 22    noticeable, do you mean it would be noticeable to   22           MS. RUSK: Thank you.
 23    the subject; they would notice that their -- they   23          VIDEOTAPE OPERATOR: Going off the
 24    had improved performance?                           24   record at 10:24.
 25       A I think that my -- my wording was -- I         25           (A brief recess was taken.)

                                                      74                                                       76
  1    had a poor choice of words. On Page 5, effect        1          VIDEOTAPE OPERATOR: Going on the
  2    size is described as a statistical measure that      2   record at 10:38.
  3    describes the strength or magnitude of the           3   BY MS. RUSK:
  4    difference between the two groups and is             4      Q Okay. Mr. Lerner, I'm going to
  5    calculated by taking the difference between the      5   introduce a new exhibit which I'm marking as
  6    means -- between two groups or time points           6   Exhibit KL38 and the Bates number is
  7    dividing that number -- well, it's what's            7   QUI-FTCNY-00003811.
  8    listed -- what's there -- let's see -- between       8      A Yes.
  9    the two groups. "A Cohen's D of .25 indicates a      9     (Exhibit Number KL38 was marked by Counsel.)
 10    weak effect in variable samples between baseline    10   BY MS. RUSK:
 11    state 0 to 90 testing point," the two paragraphs    11      Q Mr. Lerner, do you recognize this
 12    that are there.                                     12   document?
 13        Q Okay. That -- that's -- I see that.           13      A Yes, I do.
 14        A That's what -- that's what -- that's          14      Q This is a paper on the Madison Memory,
 15    what I'm referencing, and I believe the two         15   that study that was published in the "Advances of
 16    group- -- it says "two groups," but it means two    16   Mind-Body Medicine" in the winter of 2016; is
 17    time points. So in this we're looking within the    17   that correct?
 18    various arms, not between the arms.                 18      A Yes. That's the publication date.
 19        Q Okay. So you think between two groups         19      Q Okay. And you are listed as one of
 20    doesn't mean between the placebo and treatment      20   the authors on this paper?
 21    arm?                                                21      A Yes. I see my name.
 22        A I believe in th- -- it could -- I             22      Q So were you involved in writing this
 23    think it could mean either, but in this case, I     23   version of the Madison Memory Study?
 24    believe it's within the same arm, and I believe     24      A Yes.
 25    the document that you showed yesterday and today,   25      Q Do you know whether this was the only


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  1    write-up of the Madison Memory Study that was        1   BY MS. RUSK:
  2    subject to a peer-review process?                    2       Q To your understanding.
  3       A I believe that was the on- -- the only          3           MS. METZINGER: Michelle, I think this
  4    write-up that was subject to peer review.            4   question is outside the scope of Topic I as I
  5       Q Okay. Do you know who was involved at           5   read it.
  6    Quincy in the decision to get this published?        6           MS. RUSK: Are you instructing him not
  7       A I -- I don't understand your question           7   to answer?
  8    "to get this published."                             8           MS. METZINGER: No, but I am objecting
  9       Q Well, someone decided to submit this            9   to the question.
 10    paper to a journal to get it published. Who         10           THE WITNESS: I believe a higher
 11    decided to submit this to a journal for             11   impact score is -- that indicates a more widely
 12    publication?                                        12   read, more -- I believe a higher impact score is
 13       A I -- I don't remember the -- who made          13   better.
 14    the exact decision. I believe I was involved as     14   BY MS. RUSK:
 15    was Mr. Underwood, but I don't remember who made    15       Q Okay. Do you know what this journal's
 16    the exact decision.                                 16   impact factor was in 2016 when the paper was
 17       Q Okay. Do you know why this particular          17   published?
 18    journal was chosen?                                 18       A No.
 19       A I don't recall. I don't recall why             19           MS. METZINGER: Objection.
 20    this "Advances in Mind-Body Medicine" was chosen.   20   BY MS. RUSK:
 21       Q Is any -- go ahead.                            21       Q Does this publication require any fees
 22       A I'm sorry. It's -- it's -- it's                22   for Quincy to publish in this paper?
 23    publication in the area that -- the study fits in   23       A I -- there may have been page charges.
 24    the publication's area of interest.                 24   I don't know how -- how the fee was calculated
 25       Q Can you explain to me what you mean by         25   or -- I believe there was a fee, but I don't know

                                                      78                                                       80
  1    that, what the publication's area of interest is?    1   if that was -- what that was for -- associated
  2       A Well, the title "Advances in Mind-Body          2   with.
  3    Medicine" invo- -- I'm -- that -- it's the stuff     3       Q When you said there may have been fee
  4    dealing with mind and memory medicine is my          4   charges, I -- I'm not sure I understand that
  5    understanding.                                       5   term.
  6       Q Okay. Do you -- do you -- did you or            6       A I believe the char- -- the -- the
  7    anyone at Quincy look into the reputation of this    7   concept I'm referring to is a page charge, and
  8    publication prior to submitting it for               8   that's just from previous -- my previous
  9    publication?                                         9   scientific background that some journals have
 10       A I don't remember looking into this             10   page charges. I -- I believe there -- that was
 11    publication's reputation.                           11   associated with this, but I don't know. I wasn't
 12       Q Do you know if anybody else did?               12   involved in -- I wasn't in contact -- I wasn't
 13       A I do not know.                                 13   the person in contact with the journal.
 14           MS. METZINGER: Objection.                    14       Q Who was the person in contact with the
 15    BY MS. RUSK:                                        15   journal for this?
 16       Q Do you know -- are you familiar with           16       A Todd Olson.
 17    the term "impact factor," Mr. Lerner?               17       Q Okay.
 18       A Slightly. I'm not an expert, but I             18           COURT REPORTER: Who was that? Who
 19    understand. Cert- -- certain journals have          19   was that? I'm sorry.
 20    higher impact factors.                              20           THE WITNESS: Todd Olson.
 21       Q And do you know what that signifies?           21   BY MS. RUSK:
 22       A I -- I don't know what the -- how the          22       Q So I believe while on the record that
 23    impact factor is calculated, no.                    23   the Madison Memory Study was completed in 2011,
 24       Q Is a higher impact factor good or bad?         24   and this publication is in 2016. Why was this
 25           MS. METZINGER: Objection.                    25   paper being published five years after the study


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  1    was completed?                                       1   difficulty navigating through the pages.
  2       A I don't remember why -- what -- why it          2           MS. RUSK: Okay. Well, when I get to
  3    was published on this particular date, or --         3   a specific page, what I can do is click "show
  4    but -- it was -- I don't know.                       4   witness this page," and then if you click,
  5       Q Do you know when Quincy first                   5   Jaclyn, on "view witness screen," hopefully that
  6    approached this journal to publish this paper?       6   will take you to that page.
  7       A No.                                             7           MS. METZINGER: Okay.
  8       Q So you don't know how long it was               8   BY MS. RUSK:
  9    being considered for publication in this journal?    9      Q Mr. Lerner, if you could go to Page 3
 10       A No, I don't remember. No -- no, I              10   of the document.
 11    don't -- no, I do not.                              11       A Yes.
 12       Q Okay. On the first page of this                12      Q And under "Outcome Measures," it says
 13    paper, I notice that Daniel Moran is listed as an   13   in the third paragraph of that section, "The
 14    author. Can you tell me what his role was on        14   Cogstate tasks used in this study included the
 15    this paper?                                         15   ISL and the ISL-DR," but it doesn't mention any
 16       A Dan Moran assisted with the writing of         16   other Cogstate test.
 17    the paper.                                          17           Can you tell me what that is?
 18       Q Okay. He wasn't listed on the other            18       A The paper was just focused on verbal
 19    papers we talked about this morning. Did he         19   learning memory, which I believe is mentioned in
 20    assist with the writing of any of those?            20   the abstract or in the first part of the paper.
 21       A No.                                            21      Q But the Madison Memory Study included
 22       Q Do you know why he was involved in the         22   11 Cogstate tests, I believe we've established,
 23    writing only of this one?                           23   so when you're writing up a report on that study,
 24       A No.                                            24   isn't it customary to disclose all the outcomes
 25       Q In the abstract on the first page, it          25   that were administered?

                                                      82                                                       84
  1    says, under "participants" in the left column,       1           MS. METZINGER: Objection.
  2    there were 218 community-dwelling adults,            2           THE WITNESS: The -- I'm reading. The
  3    correct?                                             3   title of the paper is "The Effects of a
  4       A That's what's there, yes.                       4   Supplement Containing Apoaequorin on Verbal
  5       Q Does it say there were 100                      5   Learning in Older Adults in the Community."
  6    participants included?                               6   BY MS. RUSK:
  7       A That is not stated there, no.                   7       Q But this wasn't a study just on verbal
  8       Q And it does not say there were 118              8   learning. It was a study on 11 outcomes. And
  9    excluded from the study?                             9   I'm asking you whether it's appropriate to fail
 10       A That -- you've already read what's             10   to disclose all the other outcomes that were
 11    stated there.                                       11   administered.
 12       Q Is there any indication in that, this          12           MS. METZINGER: Objection.
 13    abstract, that there were 118 participants          13           THE WITNESS: No, I don't feel that's
 14    excluded from the study?                            14   inappropriate. The article -- I'm -- I'm
 15       A No.                                            15   reading, again, the title of the article, "The
 16       Q I'm just navigating through the                16   Effects of a Supplement Containing Apoaequorin on
 17    document.                                           17   Verbal Learning."
 18            COURT REPORTER: I couldn't hear you,        18   BY MS. RUSK:
 19    Ms. Rusk.                                           19       Q Okay. So when -- so where it says
 20            MS. RUSK: I said I'm sorry. If you          20   where we just were that the study used two tests,
 21    could give me a minute, I'm just navigating         21   you're not concerned that it doesn't disclose
 22    through the document.                               22   that the study actually used nine or 11 -- excuse
 23            MS. METZINGER: I -- I will say I            23   me -- tests?
 24    don't know if it's an AgileLaw issue or an          24           MS. METZINGER: Objection.
 25    Internet connection on my end, but I'm having       25           THE WITNESS: The third paragraph


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  1    on -- under "Outcome Measures" says, "The            1   product that was being tested. The -- the 2-5
  2    Cogstate tasks used in this study included the       2   subgroup is something that we reported earlier.
  3    ISL and the ISL-DR."                                 3   I -- as I said earlier, I can't explain why 2 is
  4            I don't believe that sentence says           4   included with 2-5.
  5    that it was only those two. But as I said, the       5       Q Okay. Do these two groups, 0-2 and
  6    study title says -- it's referencing verbal          6   2-5, overlap so people with scores of 2 are in
  7    memory.                                              7   both of these subgroups?
  8    BY MS. RUSK:                                         8       A As was already mentioned, yes, there
  9       Q Okay. If you look at the abstract on            9   is overlap.
 10    Page 1, "Outcome Measures," "The study used         10       Q So why would you report analyses for
 11    quantitative computerized tools for cognitive       11   groups that overlap?
 12    assessment, the" Cognat -- "Cogstate ISL and the    12           MS. METZINGER: Objection.
 13    Cogstate ISL-DR." It's not talking about this       13           THE WITNESS: I don't remember why a
 14    paper. It's talking about this study. It does       14   2-5 -- the 2 is included in the 2-5, as I said
 15    not disclose that you also used nine other          15   earlier.
 16    Cogstate tests; is that correct?                    16   BY MS. RUSK:
 17            MS. METZINGER: Objection.                   17       Q Okay. In the -- turning to Page 7 of
 18            THE WITNESS: I'm going back to the          18   the document, there's a sentence before the
 19    outcome measures where it says, "The tasks in       19   conclusion paragraph that says, "The current
 20    this study included the ISL and the ISL-DR."        20   research team" starting in that paragraph.
 21    BY MS. RUSK:                                        21            Do you see that?
 22       Q I'm looking at the abstract on Page 1.         22       A Yes.
 23        A Yes, ma'am. That's -- that's the              23       Q -- "believes that the additional
 24    abstract.                                           24   studies with more defined populations (i.e., a
 25       Q "Outcome Measures. The studies used            25   population with AD8 scores from 0-2) would

                                                      86                                                           88
  1    tools for Cogstate ISL and ISL-DR" on -- in -- on    1   provide even clearer evidence for the ability of
  2    the first page.                                      2   calcium-binding protein apoaequorin to affect
  3       A I -- I see what you're referring to.            3   cognitive function positively in aged individuals
  4       Q Does it say "included"?                         4   with minimal or no cognitive impairment."
  5       A There -- the abstract does not ue- --           5           Is the research -- the current
  6    say the word "included," but scientifically, the     6   research team include you, Mr. Lerner?
  7    abstract is a distillation of the entire paper.      7       A Yes.
  8    So it's -- I -- we couldn't include everything.      8       Q And then it says, "With regard to
  9    The outcome-measures section is significantly        9   statistically significant results seen for
 10    larger than what's in the abstract.                 10   populations with greater self-reported cognitive
 11       Q Okay. Let's look at some of the                11   impairment above 2, a larger study and longer
 12    results on this.                                    12   time frame may provide additional evidence."
 13            In discussing the AD8 scores, it            13           Do you see that?
 14    describes two subgroups, the AD8 0-2 -- I'm         14       A Yes, I do.
 15    looking at the fourth page of the document -- and   15       Q So with regard to that first sentence
 16    the AD8 2-5; is that correct?                       16   of that paragraph, you, as a member of the
 17       A You're on -- which page are you on?            17   research team, believe that additional studies on
 18    I'm sorry.                                          18   the more defined 0-2 population would provide
 19       Q I'm starting at Page 4. I see results          19   clearer evidence; is that correct?
 20    for AD8 0-2, and then if you skip down to           20       A That's what this -- the sentence
 21    Page 5 --                                           21   says --
 22       A I see what you -- okay.                        22       Q Well --
 23       Q Can you tell me why these two                  23       A -- additional -- additional studies
 24    subgroups were chosen for this paper?               24   would provide clearer evidence.
 25       A 0-2 was the -- is the target for the           25       Q I'm asking you, as a member of the

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  1    research team, Do you agree with that statement?     1   correct? And the -- is that correct?
  2       A Additional studies would alway- --              2       A That's what it says, yes.
  3    will always provide clearer evidence. That           3       Q And the date is July 25th, 2014,
  4    doesn't -- I don't believe that means that this      4   correct?
  5    evidence is not clear and convincing.                5       A Correct.
  6       Q Okay. Was this -- so this study was             6       Q And also in this chain is an e-mail
  7    done published in 20- -- this paper was published    7   from Dick Benson at InnoVision, dated July 2014.
  8    in 2016, and my question is, Did the research        8           Can you tell me who that is?
  9    team ever follow up to do an additional study on     9       A I'm assuming Dick Benson has something
 10    a more defined population?                          10   to do with InnoVision. I don't -- I don't know
 11            MS. METZINGER: Objection.                   11   him, and to the best of my knowledge, I've never
 12            To the extent the question would            12   met or talked to a Dick Benson.
 13    require the witness to re- -- to divulge            13       Q Okay. Is this document referring to
 14    privileged information or attorney work product,    14   publication of the Madison Memory Study?
 15    I would direct him not to answer that question.     15       A I believe this document is referring
 16            THE WITNESS: And I'm going to follow        16   to -- yes. Excuse me.
 17    Counsel's instruction to not answer the question.   17       Q Okay. So is this a discussion about
 18    BY MS. RUSK:                                        18   peer-review comments for the 2016 paper in
 19       Q Okay. Well, I just want to be clear            19   "Advances in Mind-Body Medicine"?
 20    because she said to the extent you can't answer     20       A Yes. That's listed on Page 4.
 21    without divulging privileged communications or      21       Q Okay. So in 2014 there were -- the
 22    work product. She didn't say you couldn't answer    22   paper was being peer reviewed. Do you know why
 23    at all.                                             23   the paper wasn't published until 2016?
 24            MS. METZINGER: I'm instructing the          24       A I do not know why. I -- I believe it
 25    witness not to answer.                              25   has something to do with revisions and the time

                                                      90                                                       92
  1             MS. RUSK: Okay. And we do not               1   it takes them -- a paper from acceptance until
  2    believe that's a valid instruction or a valid        2   publication.
  3    basis for refusing to answer that question, so we    3       Q Okay.
  4    may need to hold this deposi- -- deposition open     4       A I don't know what journal's turnaround
  5    as well until we can get this resolved.              5   time is.
  6             MS. METZINGER: Understood.                  6       Q Okay. Could you look at Page 4 of
  7    BY MS. RUSK:                                         7   this document. It starts "Dear Mr. Underwood"
  8       Q I'm going to look at another exhibit,           8   and the signature line says, "Craig Gustafson,
  9    which I'm introducing as KL39, and that is a         9   managing editor." Do you know if that's the
 10    document with the Bates Number                      10   editor for "Advances in Mind-Body Medicine"?
 11    QUI-FTCNY-00109151.                                 11       A Based upon this letter, I'm assuming
 12      (Exhibit Number KL39 was marked by Counsel.)      12   he's the managing editor.
 13    BY MS. RUSK:                                        13       Q Okay. And in that section of this
 14       Q And, Mr. Lerner, I'll give you a few           14   document, the e-mail or letter from Mr. Gustafson
 15    minutes to look at this document.                   15   to Mr. Underwood, it says, "One reviewer also
 16             MS. METZINGER: Michelle, just on that      16   noted significant design and methodology flaws
 17    last question, I would also object on the grounds   17   that will need to be addressed by additional"
 18    that it's outside the scope of Topic I.             18   information -- "by adding additional information
 19    BY MS. RUSK:                                        19   or acknowledging these deficits in a limitations
 20       Q Mr. Lerner, do you recognize this              20   section."
 21    document?                                           21           Do you see that?
 22        A Yes, I do now.                                22       A I'm sorry. Are you looking on Page 4?
 23       Q Okay. And it's an e-mail chain, but            23       Q I am. Let me show you. This is the
 24    at the top of that page, there's an e-mail from     24   page I'm looking at. "Dear Mr. Underwood" is at
 25    Mark Underwood to you and to Todd Olson; is that    25   the top.


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  1       A Yes.                                            1           MS. RUSK: I asked him if any
  2       Q Third paragraph down, "One reviewer             2   confounding variables were controlled for in the
  3    also noted signif- -- significant design and         3   analysis.
  4    methodology flaws."                                  4           MS. METZINGER: There are specific
  5       A Yes.                                            5   ones listed -- listed in this document.
  6       Q Were you aware that the -- the journal          6           MS. RUSK: Okay. This is -- I'm
  7    was -- peer reviewers were giving that feedback?     7   asking the witness. I'm not asking Counsel the
  8       A I was copied on this e-mail, and I              8   answer to that question.
  9    believe that referred to the first write-up of       9           MS. METZINGER: You asked me what the
 10    the paper.                                          10   basis was for my objection, and so I'm telling
 11       Q Okay. And if you could turn to the             11   you.
 12    next page under "These points should be addressed   12           THE WITNESS: I am not certain what
 13    in a limitations section".                          13   you mean by confounding variables. We excluded
 14            Do you see that?                            14   people based if they were met -- if they had the
 15       A Yes.                                           15   exclusion criteria as listed in the protocol.
 16       Q "Confounding variables were not                16   We -- I believe the thought was that those things
 17    controlled that could affect study outcomes."       17   listed in the exclusion criteria would have been
 18            And my question to you is, Is that an       18   confounding variables. I -- that's my answer.
 19    accurate statement of limitations on the study?     19   BY MS. RUSK:
 20       A That a statement --                            20       Q And the second bullet here says, "It
 21            MS. METZINGER: Objection.                   21   is also standard procedure to measure adherence,
 22            THE WITNESS: -- by the review --            22   either as a biomarker (ideally) or minimally as a
 23    that's a statement by the reviewer.                 23   pill count. There is no evidence that the
 24    BY MS. RUSK:                                        24   authors measured adherence."
 25       Q Well, I'm asking you, Did you control          25           Do you see that?

                                                      94                                                       96
  1    for confounding variables in the Madison Memory      1       A Yes, I do.
  2    Study?                                               2       Q Did you use a biomarker in the Madison
  3       A Our measure of -- I don't recall                3   Memory Study to measure adherence to the pills --
  4    whether we asked if anything had changed with        4       A No. No.
  5    their health or medication at various time           5       Q Did you count pills for the subjects
  6    points. We took their AD8 score at Day 0. That       6   at the different testing sessions?
  7    was our baseline.                                    7       A We asked how many doses they had
  8       Q Did you control for the fact that some          8   missed at the testing sessions.
  9    participants may have been on medications and        9       Q Okay. Mr. Lerner, earlier we
 10    some may not have been?                             10   discussed that this -- that there was a version
 11           MS. METZINGER: Objection.                    11   of the Madison Memory Study published in the
 12           THE WITNESS: We did not segregate            12   "Advances of Mind-Body Medicine" in 2016. Did
 13    people based upon their medications, and to the     13   Quincy ever submit any write-up of the Madison
 14    best of my recollection, in the application, they   14   Memory Study to any other journal for
 15    were asked to list medications. But --              15   publication?
 16    BY MS. RUSK:                                        16       A I don't recall any other
 17       Q Can you tell me were -- whether there          17   submittance -- submittals -- excuse me -- or
 18    were any confounding variables that were            18   publications.
 19    controlled for in the analysis of the Madison       19       Q Okay. I'm going to introduce as
 20    Memory Study data?                                  20   Exhibit KL40 a document with the Bates Number
 21           MS. METZINGER: Objection.                    21   QuincyFTC-016782.
 22           MS. RUSK: What is the basis of that          22     (Exhibit Number KL40 was marked by Counsel.)
 23    objection?                                          23          THE WITNESS: Yes.
 24           MS. METZINGER: I -- I'm not sure what        24   BY MS. RUSK:
 25    confounding variables you're referring to.          25       Q Do you recognize this document,


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  1    Mr. Lerner?                                          1            MS. RUSK: That's completely within
  2       A It looks like an e-mail chain I was             2   the scope.
  3    part of, yes.                                        3            MS. METZINGER: I disagree. I'm not
  4       Q And the e-mail chain involves you,              4   instructing Mr. Lerner to answer -- I'm not
  5    Mr. Lerner, and Mr. Olson; is that correct?          5   instructing him not to answer the question, but I
  6       A It involves Mr. Underwood, myself, and          6   disagree that this question falls within the
  7    Mr. Olson.                                           7   scope of the topic.
  8       Q Yes. Excuse me.                                 8            THE WITNESS: I -- I don't believe
  9           And it is dated 2014, correct?                9   it's inappropriate. We looked at many different
 10       A Yes, ma'am.                                    10   areas of cognition. The Mind-Body Medicine
 11       Q Okay. And in the middle of that page,          11   article reported on verbal learning. Is -- if --
 12    you are e-mailing Mr. Underwood, and you are        12   is it -- are you -- I -- are you saying that is
 13    saying, "If we go to 'Advances in Mind-Body         13   it appropriate to publish other results from the
 14    Medicine', they have a limit of 3,500 words"; is    14   study?
 15    that correct?                                       15   BY MS. RUSK:
 16       A Yes.                                           16       Q Yes. That's my question.
 17       Q And the response from Mark -- that's           17       A I don't believe it's inappropriate.
 18    Mr. Underwood -- to you says, "A verbal learning    18       Q Going to introduce another document,
 19    focus, as you suggested, is a great idea for this   19   which I am marking as Exhibit KL41 with the Bates
 20    journal and will -- will better fit the word        20   number of QUI-FTCNY-00003696.
 21    count. That will leave plenty of remaining data     21      (Exhibit Number KL41 was marked by Counsel.)
 22    for a journal that allows more words."              22            THE WITNESS: Yes.
 23           Do you see that?                             23   BY MS. RUSK:
 24       A Yes, I do.                                     24       Q Mr. Lerner, do you recognize this
 25       Q Do you recall that exchange?                   25   document?

                                                      98                                                      100
  1       A Yes.                                            1      A Yes.
  2       Q So was there ever a write-up of the             2      Q And can you tell me what it is?
  3    remaining data submitted to an another journal       3      A It is a clinical trial synopsis of
  4    that allows more words?                              4   QB-0011, which was the Madison Memory Study.
  5       A As I believe as I said earlier, I               5      Q So this is a second paper in August
  6    don't recall any other submittals.                   6   2016 describing the results of the Madison Memory
  7       Q Do you know why -- so it was being              7   Study -- a second paper, yes, in 2016?
  8    contemplated in March 2014, it sounds like. Do       8      A It's a clinical trial synopsis of the
  9    you know why there was no longer version             9   Madison Memory Study.
 10    submitted to another journal?                       10      Q Okay. And it's published the same
 11            MS. METZINGER: Objection.                   11   year as the paper that was -- I mean, it's dated
 12            THE WITNESS: No, I do not know why.         12   the same year as the paper that was published in
 13    BY MS. RUSK:                                        13   the "Advances in Mind-Body Medicine"?
 14       Q Do you think it's appropriate to               14      A It's dated August 16th, and "Mind-Body
 15    publish multiple papers reporting different         15   Medicine" was published in August '16 -- I mean
 16    results from one study?                             16   in 2016.
 17            MS. METZINGER: Objection. I don't           17      Q And was that published -- was that
 18    believe this question falls within the scope of     18   published earlier in 2016 in "Advances in
 19    Topic I for which Mr. Lerner has been designated.   19   Mind-Body Medicine"?
 20    BY MS. RUSK:                                        20      A I believe that came out before August,
 21       Q Would it be appropriate for Quincy to          21   yes.
 22    have proceeded with this idea expressed by          22      Q Okay. Was this version posted on the
 23    Mr. Underwood that you could submit remaining       23   FTC's website?
 24    data on the study to another journal?               24         It was not. I will answer that
 25            MS. METZINGER: Same objection.              25   question.


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  1           Was it posted on Quincy's website?            1   produced it to us, you published it on the
  2        A Yes, I believe it was.                         2   website, Quincy has, and you, as counsel for
  3        Q Do you know if it was ever submitted           3   them, presented it in motions on a summary
  4    anywhere in an attempt to get it published?          4   judgment motion to dismiss as evidence for why
  5        A I do not believe it was submitted              5   our case should be dismissed.
  6    anywhere.                                            6           So there is no reasonable argument you
  7        Q And you're listed on the cover as the          7   can make against why this hasn't been -- any
  8    principal investigator, but I don't see any          8   privilege hasn't been waived.
  9    authors listed.                                      9           MS. METZINGER: That's precisely the
 10           Can you tell me why that is?                 10   issues that have been raised by the -- raised in
 11        A No. It was written up as a syn- --            11   the discovery dispute that's pending before Judge
 12    synopsis of the clinical trial.                     12   Sullivan.
 13        Q And who was the writer of the                 13           MS. RUSK: Discovery dispute has to do
 14    synopsis?                                           14   with getting documents related to the work that
 15        A I'm not really sure I can answer that         15   went into the write-up. I am asking about this
 16    question because our attorneys were involved.       16   write-up.
 17    I'd have to confer with Counsel.                    17           MS. METZINGER: And --
 18           MS. METZINGER: Michelle, I would like        18           MS. RUSK: The privilege has been
 19    to take that opportunity to confer with             19   waived with respect to this document. Are you
 20    Mr. Lerner.                                         20   disputing that with respect to this document
 21           MS. RUSK: Okay. So are you asking to         21   you've waived any privilege?
 22    go off the record?                                  22           MS. METZINGER: The company's
 23           MS. METZINGER: Please.                       23   position -- you know, this document has been
 24           MS. RUSK: Okay. Is 10 minutes                24   published on the website. I would like to take
 25    sufficient?                                         25   it on a question-by-question basis. The issues

                                                     102                                                        104
  1             MS. METZINGER: It should be.                1   that you are articulating go to the heart of that
  2             MS. RUSK: Okay. We'll go off the            2   discovery dispute.
  3    record for 10 minutes.                               3            MS. RUSK: Well, it's more than just
  4             VIDEOTAPE OPERATOR: Going off the           4   that it's been published in the website. It's
  5    record at 11:20.                                     5   been introduced as evidence by Counsel, you, in
  6              (A brief recess was taken.)                6   this case before the Court.
  7             VIDEOTAPE OPERATOR: Going on the            7            MS. METZINGER: And you have made
  8    record at 11:36.                                     8   those arguments to Judge Sullivan, and we have
  9             MS. RUSK: Okay. Could the court             9   responded to those arguments, and they have not
 10    reporter read back the last question, please.       10   yet been decided.
 11         (The record was read by the reporter.)         11            MS. RUSK: That dispute does not have
 12             MS. METZINGER: Michelle, as you know,      12   to do with this document. It has to do with
 13    we have a discovery dispute pending before Judge    13   other documents from a third party.
 14    Sullivan in the District of Columbia that raises    14            MS. METZINGER: I disagree with that.
 15    issues relating to this document, so I am going     15            MS. RUSK: Okay. So you're
 16    to permit Mr. Lerner to answer questions about      16   instructing the witness not to answer who was
 17    this document.                                      17   involved in writing this doc- -- this paper,
 18             But, Mr. Lerner, I would ask that you      18   synopsis?
 19    pause before beginning your answer so that I have   19            MS. METZINGER: I am instructing the
 20    a chance to object and give you an instruction      20   witness not to reveal any privileged information
 21    if -- if I deem it is appropriate.                  21   or information that would be covered by the
 22             MS. RUSK: And, Jaclyn, I guess my          22   attorney work product, and if his response to
 23    response is any privilege that you might be         23   that would disclose such information, then I
 24    asserting with respect to this document has         24   would instruct him not to disclose that
 25    clearly been waived. I mean, not only have you      25   information.

                                                                                           26 (Pages 101 to 104)
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                                                      105                                                        107
  1    BY MS. RUSK:                                          1           THE WITNESS: And I believe I'm going
  2        Q All right. Mr. Lerner, I am going to            2   to have to answer the same way. I'm going to
  3    reask that question for the record because I'm        3   follow Counsel's instructions.
  4    not sure we actually got an answer as we came         4           Excuse me.
  5    back after your instruction from Counsel.             5           MS. RUSK: Okay. Counsel, you
  6            Who was involved in writing the               6   understand that we don't agree that you have a
  7    synopsis -- this synopsis?                            7   valid basis for instructing the witness not to
  8            MS. METZINGER: Objection on the               8   answer questions that are relevant to this
  9    grounds of attorney-client privilege and attorney     9   document, how this was provided to us, has been
 10    work product.                                        10   filed in the case in court, and that we will have
 11            To the extent your answer to this            11   to hold this deposition open until this is
 12    question would reveal information protected by       12   resolved?
 13    the attorney-client privilege or the attorney        13           MS. METZINGER: I -- I disagree with
 14    work product doctrine, I would instruct              14   your position but I understand it, and if the
 15    Mr. Lerner not to divulge that information.          15   dispute makes its way to the court and we are
 16            THE WITNESS: I'm going to follow             16   ordered to reproduce Mr. Lerner to answer
 17    Counsel's instructions to not answer the             17   question, we will do so.
 18    question.                                            18   BY MS. RUSK:
 19    BY MS. RUSK:                                         19       Q Mr. Lerner, under the next column,
 20        Q If you could look at Page 4 of this            20   "Statistical Analysis," it says, "Data analyses
 21    document, Mr. Lerner.                                21   were performed on the intention-to-treat
 22        A Yes.                                           22   population, which included all randomized
 23        Q In the bottom of the first column, it          23   subjects."
 24    says, "A total of 218 participants were enrolled     24           Can you explain to me what the
 25    in the study"; is that correct?                      25   inten- -- "intention-to-treat population" refers

                                                      106                                                        108
  1       A That's what it says, yes.                        1   to?
  2       Q And then it says, "211 participants              2           MS. METZINGER: Same objection.
  3    completed the study."                                 3           Mr. Lerner, I would -- I would
  4           Is that what it says?                          4   instruct you that if, in order to answer this
  5       A Yes.                                             5   question, you would be required to reveal
  6       Q Okay. I do not recall seeing a                   6   information protected by the attorney-client
  7    reference to 211 participants completing the          7   privilege or the attorney work product doctrine,
  8    study in earlier write-ups. It was always 218.        8   that you refrain from disclosing that
  9           Can you explain why this is now 211?           9   information.
 10           MS. METZINGER: Objection.                     10           THE WITNESS: I will follow Counsel's
 11           To the extent answering this question         11   instructions to not answer the question.
 12    would require the witness to divulge information     12           MS. RUSK: Will you allow him to
 13    protected by the attorney-client or the --           13   answer questions "What is an intention to treat
 14    privilege or the attorney work product doctrine,     14   analysis"?
 15    I would instruct him not to reveal such              15           MS. METZINGER: I think that question
 16    privileged information.                              16   is outside the scope of the 30(b)(6) topic, but I
 17           THE WITNESS: I'm going to follow              17   will not instruct him not to answer it.
 18    Counsel's instructions not to answer this            18   BY MS. RUSK:
 19    question.                                            19       Q Mr. Lerner, can you tell me what an
 20    BY MS. RUSK:                                         20   intentions-to-treat analysis is?
 21       Q You can't tell me anything about why            21       A I'm not really sure I can answer that
 22    there are seven less participants in this            22   question as our attorneys were involved in what
 23    write-up in this synopsis than in previous           23   you're asking me.
 24    write-ups?                                           24           MS. METZINGER: And, again, I -- I
 25           MS. METZINGER: Same objection.                25   would instruct Mr. Lerner not to divulge any

                                                                                             27 (Pages 105 to 108)
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                                                      109                                                      111
  1    privileged information.                               1   is that correct?
  2    BY MS. RUSK:                                          2       A Yes.
  3       Q Can you tell me if there was an                  3       Q And it does not list the SET outcome;
  4    intention-to-treat analysis done in the               4   is that correct?
  5    write-ups -- the earlier write-ups that we have       5       A It does not list the SET outcome.
  6    discussed this morning?                               6       Q Okay. Under the -- under "results,"
  7       A I do not recall if that was part of              7   it says, "While no statistically significant
  8    the earlier write-ups.                                8   results were observed ov- -- over the entire
  9       Q Is there somebody at Quincy who would            9   study population, there were statistically
 10    be able to answer that basic question of whether     10   significant results in the AD8 0-1 and the AD8
 11    the other write-ups, which are part of Topic I       11   0-2 subgroups."
 12    for this 30(b)(6), included an intention-to-treat    12           Do you see that?
 13    analysis?                                            13       A Yes.
 14            MS. METZINGER: Objection.                    14       Q Okay. So this is apparently saying
 15            THE WITNESS: I believe -- Ms. Rusk.          15   that the entire study population was more than
 16    BY MS. RUSK:                                         16   just the people in the AD8 0-1 and AD8 0-2,
 17       Q Yes.                                            17   correct?
 18       A I believe -- I'm searching for the              18       A When I read there's -- there was --
 19    definition of "intention to treat," and I believe    19   there were no statistically significant results
 20    that -- had not used this definition prior to        20   in the entire study population, which would have
 21    this write-up, which is why I am -- my answer is     21   been everybody in the study, and there were
 22    what it -- was -- was what I said.                   22   statistically significant results in the 0-1 and
 23       Q You're saying you had not used this             23   0-2.
 24    definition -- I'm sorry. Could you repeat your       24       Q Which would be only part of the study
 25    answer --                                            25   population, correct?

                                                      110                                                      112
  1           MS. RUSK: Or cou- -- could the court           1          MS. METZINGER: Objection.
  2    reporter read that back for me please, the            2   BY MS. RUSK:
  3    answer.                                               3      Q The AD- -- according to this sentence
  4        (The record was read by the reporter.)            4   the AD8 0-1 and AD8 0-2 are subgroups of the
  5    BY MS. RUSK:                                          5   entire study population.
  6       Q Can you tell me what you mean by "I              6          MS. METZINGER: Objection.
  7    had not used this definition prior to this            7   BY MS. RUSK:
  8    write-up"?                                            8      Q Is that correct?
  9       A I cannot provide you with a definition           9      A The sentence calls them separate.
 10    of "intention to treat." That -- I do not recall     10      Q Mr. Lerner, I'm just asking you
 11    the technical definition of "intention to treat."    11   what -- who was in the entire study population?
 12       Q Okay. If you could look at Page 4 of            12      A Everybody --
 13    this document -- well, it's actually labeled at      13          MS. METZINGER: Objection.
 14    the bottom as Page 5. I guess Page 5 of this         14   BY MS. RUSK:
 15    document. Let me show you the page that I'm          15      Q You can answer.
 16    looking at. And the heading at the top is            16      A The entire study population were the
 17    "results."                                           17   people who applied and were randomized and
 18           Are you on that page?                         18   completed the study.
 19       A Yes.                                            19      Q Did that include people that did not
 20       Q In the chart below this Table 2, the            20   have an AD8 score of 0-1 or 0-2?
 21    table -- excuse me -- it lists AD8 -- age AD8 and    21      A I believe I already test- -- yes.
 22    then it lists outcomes on -- from the Cogstate       22      Q Is this the first write-up of the ones
 23    battery; is that correct?                            23   we went through this morning that acknowledges
 24       A Yes. I believe that's what's there.             24   there were no statistically significant results
 25       Q And it lists nine Cogstate outcomes;            25   observed in the entire study population?

                                                                                           28 (Pages 109 to 112)
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                                                     113                                                      115
  1            MS. METZINGER: Objection.                    1   information.
  2            MS. RUSK: Basis for that objection,          2           THE WITNESS: Can you repeat your
  3    please?                                              3   question, please?
  4            MS. METZINGER: We've been looking at         4   BY MS. RUSK:
  5    a number of different write-ups, some of which       5      Q If the Group 0-2 includes everybody in
  6    the witness testified were drafts, and I think       6   the Group 0-1, why not just look at the results
  7    the question is vague to the extent that it could    7   for the 0-2 subgroup?
  8    be interpreted to include some of the draft          8           MS. METZINGER: Same objection and
  9    versions that we've looked at today.                 9   instruction.
 10    BY MS. RUSK:                                        10           THE WITNESS: I'm going to follow
 11        Q Mr. Lerner, have any of the drafts or         11   Counsel's instruction on that question.
 12    final versions of MSS papers that we've look at     12   BY MS. RUSK:
 13    this morning acknowledged that there was no         13      Q Mr. Lerner, I'm going to ask you
 14    statistically significant results observed over     14   that -- the question with respect to earlier
 15    the entire study population?                        15   write-ups of the study, where I assume that the
 16        A I believe I would have to review the          16   counsel's objections would not apply. But the
 17    documents we've looked at today to make that        17   earlier write-ups that included discussions of
 18    statement. I don't -- I don't remember              18   AD8 0-1 and 0-2, I'm asking you for those earlier
 19    everything that -- I don't remember the content     19   write-ups, why include a 0-1 when all of those
 20    of the entire documents just from the brief parts   20   participants are also included in the 0-2
 21    we've looked at.                                    21   subgroup.
 22        Q So the tables that follow in this             22           MS. METZINGER: Again, Michelle, are
 23    paper -- well, Table 2 provides outcomes of the     23   you -- are you referencing the final write-ups?
 24    participants at baseline; is that correct?          24           MS. RUSK: I'll -- I'll reference
 25        A Yes.                                          25   (sotto voce comment).

                                                     114                                                      116
  1        Q For AD8 0-1 and 0-2 -- I'm sorry. Let          1            COURT REPORTER: What was that? I'm
  2    me (sotto voce comment). Okay. And then the          2   sorry.
  3    following tables are focused specifically on         3          MS. RUSK: I will reference the
  4    those two subgroups; is that correct?                4   specific document. Let me look.
  5        A Two to three --                                5   BY MS. RUSK:
  6            MS. METZINGER: What page are you on,         6      Q All right. Rather than spend time
  7    Michelle?                                            7   trying to look through this document, I'm going
  8    BY MS. RUSK:                                         8   to move on to my next question, and I'm going to
  9        Q The following tables in the study --           9   come back to this.
 10    I'm looking at Page 5 and Page 6 -- of the          10          Mr. Lerner, if you could look at the
 11    document are focused on Subgroups AD8 0-1 or 0-2;   11   Table 3 on Page 5, the results for the AD8 0-1
 12    is that correct?                                    12   subgroup, we talked about a P value of 0.05 or
 13        A Yes.                                          13   less being a threshold for statistical
 14        Q Is it true that every participant who         14   significance; is that correct?
 15    is in the 0-1 subgroup is also in the 0-2           15      A Yes.
 16    subgroup?                                           16      Q Okay. So in the Table 3 in the third
 17        A Yes.                                          17   column where it says, "between group P value" --
 18        Q So why -- what is the purpose of              18      A Yes.
 19    having both groups and not just the 0-2 subgroup?   19      Q -- can you identify for me which
 20            MS. METZINGER: Objection.                   20   Cogstate outcomes reach that statistically
 21            To the extent Mr. Lerner's response to      21   significant P value?
 22    this question would result in the disclosure of     22          It might -- you might need to enlarge
 23    information protected by the attorney-client        23   this.
 24    privilege or the attorney work product doctrine,    24      A Sorry. I'm just looking at this
 25    I would instruct him not to disclose that           25   chart.


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                                                     117                                                     119
  1       Q I've got it at 150 percent, if that's           1       A Yes.
  2    easier for you.                                      2       Q So those indicate a P value of .05 or
  3       A Sorry. Bifocals are fun.                        3   less, correct?
  4       Q I understand. Believe me.                       4       A Yes.
  5       A Your question again was? I -- I'm               5       Q But those are not the thr- -- same
  6    sorry.                                               6   three outcomes where there was statistical
  7       Q Looking at Table 3 in the -- the                7   significance for group -- between group in the
  8    right-hand box, it says the -- "between Group P      8   AD8 0-1?
  9    values," I'm asking you which of those values --     9       A No. Those are -- I -- I do not
 10    for which outcomes did the value reach a            10   believe those are the same.
 11    statistically significant P value?                  11       Q Okay. So 0-1 are GMR, DET, and OCL;
 12       A I believe the -- anything that has an          12   0-2 -- GMR, DET, and OCL; and 0-2 are GML, IDN,
 13    asterisk is less than point-O -- 0.05.              13   and OCL. So it looks like OCL is in both of
 14       Q Okay. So for which outcomes is there           14   those subgroups, but their -- the other two tabs
 15    an asterisk?                                        15   are different for the different subgroups; is
 16       A Between groot -- "group outcomes," if          16   that correct?
 17    you're looking under the group column --            17       A Yes.
 18       Q Yes.                                           18       Q Okay. Do you know why two subgroups
 19       A -- first column, there's an asterisk           19   that are largely overlapping wouldn't show
 20    under "GMR" and "OCL." If you're looking at         20   significance for the same outcomes?
 21    group by time, it's under the detection. It         21       A I don't recall how many people are in
 22    depends on what you're measuring here --            22   the 0-1 versus 0-2 groupings, what the difference
 23       Q Okay.                                          23   in the numbers are.
 24       A -- what -- what -- what variable.              24       Q Okay. And how would that affect your
 25       Q Can you explain to me the difference           25   answer?

                                                     118                                                     120
  1    because I'm not sure I understand the difference     1      A I'm sorry. You're -- you're asking me
  2    between the "group" column and the "group times      2   why some -- some tests are significant for 0-1
  3    time" column.                                        3   and some are -- and are not significant for 0-2
  4        A I would have to go re- -- re- --               4   and vice versa?
  5    re- -- review the statistical back at the            5      Q Yeah. When the -- when you indicated
  6    analysis.                                            6   that the 0-2 group includes everybody in the 0-1
  7       Q Okay. So but in this -- that's okay.            7   group and, you know, if hypothetically there were
  8    In the group column, I believe there are three       8   60 people out of 90 that were in both groups, is
  9    asterisks; is that correct?                          9   that what you're saying? You don't know how many
 10        A Yes.                                          10   were in both groups?
 11        Q "GMC," "DET," and "OCL"; is that              11      A Your question is why are some things
 12    correct?                                            12   significant for one group and not for the other.
 13        A Yes.                                          13      Q If the groups are substantially
 14       Q Okay. Could we look at the next table          14   overlapping, wouldn't you expect to see
 15    on the next page. And this is for the results       15   significance on the same outcomes in both groups?
 16    for AD8 0-2, correct?                               16          MS. METZINGER: Objection.
 17        A I'm sorry. We're talking about                17          THE WITNESS: Is your question asking
 18    Table 3 or --                                       18   me do I expect the same tests be significant
 19        Q Table 4 now --                                19   whether the 2s are included or not?
 20        A Okay.                                         20   BY MS. RUSK:
 21        Q -- on the next page.                          21      Q Yes, because of the overlap. That's
 22        A All right.                                    22   my question.
 23       Q And in that group column for P value,          23          MS. METZINGER: Objection.
 24    there's three tabs that are asterisked, "GML,"      24          THE WITNESS: There's different
 25    "IDN," and "OCL"; is that correct?                  25   populations.


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  1    BY MS. RUSK:                                         1   document, I want to point out the Bates number
  2        Q I'm sorry. I had a dog issue.                  2   again. It ends in 163956, and I'm going to
  3        A That's okay.                                   3   introduce a document. I'm sorry.
  4            There's overlap between 0-2 and 0-1,         4     (Exhibit Number KL44 was marked by Counsel.)
  5    but they're not the exact same populations.          5   BY MS. RUSK:
  6        Q Okay. I'm going to introduce another           6      Q Document 44 is the metadata for that
  7    exhibit.                                             7   document I just showed you with the Bates number
  8      (Exhibit Number KL42 was marked by Counsel.)       8   beginning 163956. And in the metadata for that
  9    BY MS. RUSK:                                         9   document, it says the author is Janet Liang,
 10        Q Okay. Mr. Lerner, I'm introducing a           10   L-I-A-N-G, and the custodian is Kenneth Lerner.
 11    document that I'm marking as Exhibit KL42, Bates    11           Can you tell me who Janet Liang is?
 12    Number QUI-FTCNY-00169162. I'm introducing this.    12           MS. METZINGER: Michelle, I'm just
 13    It's a -- a cover e-mail. I'm going to introduce    13   going to object to this document for the same
 14    the attachment to this. But does this cover         14   reason that I objected to the chart that you
 15    e-mail show that it is from you to Casey Klein on   15   created on the exhibit that you introduced
 16    August 3rd, 2016?                                   16   yesterday. This isn't a document that's been
 17        A Yes.                                          17   provided to Counsel and certainly not something
 18        Q Can you tell me who Casey Klein is?           18   that Mr. Lerner has seen before.
 19        A She is a Quincy employee who does our         19           MS. RUSK: So it's a document that
 20    graphic design.                                     20   you -- it -- it -- it's metadata for the
 21                                                        21   documents you produced to us, so you produced
 22                                                        22   this metadata when you produced it to us. And
 23                                                        23   I'm asking Mr. Lerner who the author -- why
 24                                                        24   there's an author listed as Janet Liang for this
 25      Q   And I'm introducing an exhibit that           25   document.

                                                     122                                                      124
  1    I've marked as KL43, QUI-FTCNY-00163956.             1           MS. METZINGER: I understand that, but
  2        A Yes.                                           2   to the extent you're using a document that you
  3       (Exhibit Number KL43 was marked by Counsel.)      3   created, you know, I would object to that
  4    BY MS. RUSK:                                         4   document.
  5        Q Do you recognize this document,                5           MS. RUSK: Are you -- I mean, I don't
  6    Mr. Lerner?                                          6   know how to produce the mela- -- the metadata
  7        A I recognize that I don't know what the         7   other than pulling it from relativity. That's
  8    difference is between that and the previous          8   how it shows up in your production.
  9    Doc- -- Document 41.                                 9           MS. METZINGER: And similarly, with
 10        Q Okay.                                         10   the chart that you created yesterday, as you are
 11        A Besides the fonts.                            11   aware, the -- the metadata implicates privileges
 12        Q So this looks to be similar to the            12   that Quincy has asserted that I know that -- that
 13    August 2016 synopsis that we just discussed?        13   the FTC and the N- -- NY AG disagree with, but to
 14        A It does. I note it's shorter, and I           14   the extent you're questioning Mr. Lerner and the
 15    believe there is, in the study -- the study         15   answers to your questions would require the
 16    design, there is AD8 0-2, and then higher levels    16   disclosure of information protected by the
 17    of impairment was 3-8. I don't remember that        17   attorney-client privilege or the attorney work
 18    statement being in the previous write-up. But       18   product doctrine, I would caution the witness not
 19    it -- this seems to be -- I don't know if this is   19   to disclose that information.
 20    as long a document or I'm just not seeing it on     20   BY MS. RUSK:
 21    flipping through it. Maybe it's the same length.    21       Q Mr. Lerner, did Janet Liang author the
 22        Q Okay. And the date on this document           22   document that's introduced as Exhibit KL43?
 23    is August 2016; is that correct?                    23           MS. METZINGER: Objection.
 24        A Yes.                                          24           I would instruct the witness not to
 25        Q So before I introduce the next                25   answer that question on the grounds of

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  1    attorney-client privilege and the attorney work           1   employed by?
  2    product doctrine.                                         2       A I -- my AgileLaw screen is blank. Is
  3            THE WITNESS: I'm going to follow                  3   that --
  4    Counsel's instructions not to answer that                 4       Q Okay. I'm sorry. Do you have
  5    question.                                                 5   anything --
  6    BY MS. RUSK:                                              6       A Yes.
  7        Q Mr. Lerner, can you tell me whether                 7       Q Okay.
  8    Janet Liang is an employee of Quincy?                     8       A Now -- thank you. Sorry.
  9            MS. METZINGER: Objection.                         9           I believe earlier you asked a question
 10    BY MS. RUSK:                                             10   if Janet Liang is an employee of Georgetown
 11        Q You may answer.                                    11   Economic Services.
 12        A No.                                                12       Q Okay. And can you tell me what her
 13        Q Can you tell me who Janet Liang is?                13   role was in preparing the August 2016 synopsis of
 14        A I'm not -- I'm not sure I can answer               14   the Madison Memory Study?
 15    that question because attorneys were involved.           15           MS. METZINGER: Objection and an
 16            MS. RUSK: Counsel, are you                       16   instruction to Mr. Lerner not to answer that
 17    instructing him not to answer that question? I           17   question on the grounds of the attorney-client
 18    didn't hear an objection.                                18   privilege and the attorney work product doctrine.
 19            MS. METZINGER: I did not, but if --              19           THE WITNESS: And I will be following
 20    if the witness has concerns about revealing              20   Counsel's instruction not to answer that
 21    privileged information, I could confer with him          21   question.
 22    off the record and -- and talk that through.             22   BY MS. RUSK:
 23            MS. RUSK: Okay. I -- I -- before you             23       Q Okay. Can you tell me who else at
 24    go off the record and talk that through, I'm             24   Quincy was involved in preparing the 20- --
 25    going to also be asking him if Janet Liang is an         25   August 2016 synopsis of the Madison Memory Study?

                                                          126                                                      128
  1    employee of Georgetown Economic Services and what         1      A I -- I remember Casey Klein, myself,
  2    her role was in this synopsis in 2016.                    2   Mark Underwood, and I don't recall if anyone else
  3           MS. METZINGER: Okay.                               3   was involved.
  4           MS. RUSK: But we can go off the                    4      Q Okay. I'd like to go back to KL41,
  5    record for 10 minutes.                                    5   please. And I am looking at a sentence we
  6           MS. METZINGER: Okay. Thank you.                    6   discussed earlier on Page 5 of the document at
  7           VIDEOTAPE OPERATOR: Going off the                  7   the top where it says "Results." I asked you
  8    record at 12:14.                                          8   about the sentence "While no statistically
  9            (A brief recess was taken.)                       9   significant results were observed for the entire
 10           VIDEOTAPE OPERATOR: Going on the                  10   study population, there were statistically
 11    record at 12:20.                                         11   significant results in the AD8 0-1 and AD8 0-2
 12           MS. RUSK: Could I ask the court                   12   subgroups."
 13    reporter to read back my last statement before we        13          My question now was, Do you agree with
 14    took a break.                                            14   the statement that there were no statistically
 15        (The record was read by the reporter.)               15   significant results observed over the entire
 16    BY MS. RUSK:                                             16   study population?
 17       Q Mr. Lerner, I think I asked you a                   17          MS. METZINGER: Objection.
 18    question about whether Janet Liang was an                18          THE WITNESS: I agree with what's
 19    employee of Quincy, and I think I phrased the            19   written on the page which you've read -- read.
 20    question imprecisely. I think I asked you if you         20   BY MS. RUSK:
 21    knew whether she was an employee at Quincy.              21      Q Okay. Did -- were other people at
 22           So I would like to ask you if Janet               22   Quincy aware that there were no statistically
 23    Liang is or was an employee at Quincy.                   23   significant results observed over the entire
 24       A No.                                                 24   study population?
 25       Q Okay. Can you tell me who she was                   25          MS. METZINGER: Objection.

                                                                                                32 (Pages 125 to 128)
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                                                    129                                                    131
  1            THE WITNESS: I -- I don't believe I          1
  2    can address what everybody at the company was        2
  3    aware of.                                            3
  4    BY MS. RUSK:                                         4
  5       Q Did you ever inform Mr. Underwood that          5
  6    the Madison Memory Study showed no statistically     6
  7    significant results over the entire study            7
  8    population?                                          8
  9            MS. METZINGER: I'm going to object to        9
 10    that question on the grounds that it's outside      10         MS. METZINGER: Objection.
 11    the scope of Topic I, but I will permit the         11         THE WITNESS:
 12    witness to answer the question.                     12
 13            THE WITNESS: I don't recall if I made       13
 14    that statement to Mr. Underwood, but I believe he   14
 15    was aware of this document.                         15
 16    BY MS. RUSK:                                        16
 17       Q Okay. Can you tell me if Mr. Beaman            17
 18    reviewed this document?                             18
 19            MS. METZINGER: Objection. Again,            19   BY MS. RUSK:
 20    outside the scope of Topic I for which Mr. Lerner   20     Q
 21    has been designated.                                21
 22            THE WITNESS: I -- I do not know.            22
 23            MS. RUSK: I'm going to introduce            23
 24    another exhibit which I am marking as KL45, and     24
 25    this is a document with a Bates Number              25

                                                    130                                                    132
  1    QUI-FTCNY-00148150.                                  1     A
  2     (Exhibit Number KL45 was marked by Counsel.)        2
  3    BY MS. RUSK:                                         3
  4      Q Mr. Lerner, do you recognize this                4
  5    document?                                            5
  6      A Yes.                                             6
  7      Q And at the top, this indicates this              7
  8    was an e-mail from you to Mr. Underwood on           8
  9    June 21st, 2010, correct?                            9
 10      A Yes.                                            10
 11                                                        11
 12                                                        12
 13                                                        13      Q And I'm introducing another exhibit,
 14                                                        14   which I'm marking as Exhibit KL46.
 15                                                        15     (Exhibit Number KL46 was marked by Counsel.)
 16          Do you see that?                              16   BY MS. RUSK:
 17      A Yes, I do.                                      17      Q And, Mr. Lerner, can you tell me if
 18      Q So this abstract -- this e-mail is              18   you're familiar with this document?
 19    2010. It's before the Madison Memory Study was      19      A I -- yes. It looks familiar. I've
 20    complete, correct?                                  20   not really seen this in many years.
 21      A Correct.                                        21      Q And in the second paragr- -- is this a
 22                                                        22   document related to the Madison Memory Study?
 23                                                        23      A Yes -- yes.
 24                                                        24
 25                                                        25


                                                                                         33 (Pages 129 to 132)
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                                               133                                                     135
  1                                                   1
  2                                                   2   BY MS. RUSK:
  3                                                   3
  4                                                   4
  5                                                   5
  6                                                   6
  7                                                   7
  8                                                   8
  9         MS. METZINGER: Objection.                 9
 10         THE WITNESS:                             10
 11                                                  11
 12          COURT REPORTER: What was the second     12
 13    group you said?                               13
 14          MS. RUSK:                               14
 15                                                  15
 16                                                  16
 17                                                  17
 18                                                  18
 19    BY MS. RUSK:                                  19
 20      Q Mm-hmm.                                   20
 21                                                  21
 22                                                  22      Q Okay. Could we go back to Exhibit 38
 23                                                  23   because there was one other point in there which
 24                                                  24   I couldn't find when I had this exhibit up
 25                                                  25   earlier, so I'd like to go back to it.

                                               134                                                     136
  1                                                   1          I'm looking at -- I'll just show you
  2                                                   2   the page. I'm looking at Page 2 of the document,
  3                                                   3   and under "methods" in the right-hand column
  4                                                   4   towards the bottom under "participants," I'm
  5         MS. METZINGER: Objection.                 5   looking about four lines from the bottom of that
  6         THE WITNESS:                              6   column. It says, "participants, study
  7                                                   7   coordinators, and evaluators remained blinded
  8                                                   8   until the end of the study."
  9                                                   9          Do you see that?
 10                                                  10      A Yes.
 11    BY MS. RUSK:                                  11      Q Can you tell me who the study
 12                                                  12   coordinators were for the Madison Memory Study?
 13                                                  13      A I believe that was Peggy Sivesind.
 14                                                  14      Q Okay. And who were the evaluators?
 15                                                  15      A Amadeus Benitez, the other -- the
 16                                                  16   college students that had worked -- that worked
 17                                                  17   for Quincy at the time. I don't remember the
 18                                                  18   whole list of people.
 19                                                  19      Q Okay. And earlier you referred to
 20                                                  20   "proctors." Are "proctors" evaluators?
 21                                                  21      A Yes.
 22                                                  22      Q Okay. And you said the proctors, so
 23         MS. METZINGER: Objection.                23   the evaluators, were made aware of the
 24         THE WITNESS:                             24   participant assignment when the participant
 25                                                  25   completed the study?


                                                                                    34 (Pages 133 to 136)
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                                                    137                                                       139
  1        A Yes. They were -- they were -- I               1   BY MS. RUSK:
  2    can't remember the procedure, but I provided them    2       Q Can you tell me what the Madison
  3    with the information to tell the subject at the      3   Memory continuation is?
  4    end of their Day 90 whether they were on placebo     4       A This was an opportunity given to
  5    or product.                                          5   participants to continue on product and
  6        Q Okay. So they were made aware when             6   continue -- I believe it was every -- I can't
  7    that particular -- when a particular participant     7   remember how frequently but to come in and
  8    completed the study, which would be before the       8   continue to receive product and take another
  9    end of the study, the full study was completed;      9   Cogstate exam.
 10    is that correct?                                    10       Q Okay.
 11            MS. METZINGER: Objection.                   11       A It was -- it -- it was -- it was -- I
 12            THE WITNESS: The participant was made       12   don't want to say it was informal, but it was not
 13    aware of what group they were in.                   13   a part of the Madison Memory Study.
 14    BY MS. RUSK:                                        14       Q Okay. And it -- it looks like there
 15        Q And the evaluator or proctor was also         15   were at least 19 people that continued on through
 16    made aware of that when they completed the study,   16   Day 360?
 17    is that correct -- when the participant -- the --   17       A According to this chart, yes.
 18    let me ask you --                                   18       Q Okay. What do you mean when you say
 19        A Just when the participant had                 19   it was not part of the Madison Memory Study?
 20    completed the study and they were made aware, and   20       A The Madison Memory Study was a 90-day
 21    I believe that information was provided by that     21   study.
 22    proctor.                                            22       Q Okay.
 23        Q Okay. So I want to make sure I                23       A This was a 90-day study. This was
 24    understand what you're saying to me. Let me ask     24   people who had been in that were given the
 25    this a little differently.                          25   opportunity to continue taking the Prevagen and

                                                    138                                                       140
  1            Did the participants have to wait            1   taking tests.
  2    until all participants completed the study and       2      Q Okay.
  3    the study ended to learn which group they had        3          MS. METZINGER: And based on -- based
  4    been in?                                             4   on that testimony, Mr. Lerner, I would object to
  5        A No. I believe they -- no. No, they             5   these questions on the basis of outside the scope
  6    did not.                                             6   of Topic I.
  7        Q Okay. All right. Going to -- I'm               7          MS. RUSK: Okay. It's hard for me to
  8    getting close, Mr. Lerner. If you are amenable,      8   know when it says "Madison Memory" and these are
  9    I think maybe I have about 15 minutes more. I        9   participants from the Madison Memory Study.
 10    prefer not to take a lunch break if we could and    10          MS. METZINGER: I -- I understand.
 11    just finish up. Is that all right with you?         11   I'm not going to instruct him not to answer. I
 12        A That's fine.                                  12   just want it to be noted for the record.
 13        Q Okay.                                         13   BY MS. RUSK:
 14            MS. RUSK: Counsel?                          14      Q Okay. Mr. Lerner, was there a
 15            MS. METZINGER: That's fine.                 15   continuation of the study contemplated in the
 16            MS. RUSK: Okay.                             16   protocol?
 17            I'm introducing an exhibit that I'm         17      A No.
 18    marking as KL47 with the Bates Number               18      Q Okay
 19    QuincyFTC-008537.                                   19      A I don't recall one.
 20    BY MS. RUSK:                                        20      Q Do you know if any data was gathered
 21        Q And, Mr. Lerner, this is an e-mail            21   for these participants? Did they continue to be
 22    that appears to relate to Madison Memory            22   tested?
 23    continuation; is that correct?                      23          MS. METZINGER: Objection.
 24        A Yes.                                          24          THE WITNESS: I bel- -- I believe
 25      (Exhibit Number KL47 was marked by Counsel.)      25   there was some -- some data gathered and some


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                                                   141                                                      143
  1    testing. I do not recall -- I do not recall        1   don't recall any significant results.
  2    whatever came of that data.                        2      Q Okay. I just want to make sure I'm
  3    BY MS. RUSK:                                       3   understanding your answer, given the way you
  4       Q Okay.                                         4   worded that.
  5       A Or if -- if it was analyzed. Excuse           5          Are you saying you don't recall that
  6    me.                                                6   there were any significant results?
  7       Q Okay. So you don't recall whether the         7      A Yes.
  8    outcomes continued to improve or not?              8           MS. RUSK: Okay.
  9       A No, I -- I don't.                             9           Counsel, I'd like to ask for just a
 10       Q Okay. In the protocol for the Madison        10   five-minute break, if that's okay, just to
 11    Memory Study -- and you can try to go back to     11   determine whether I'm ready to wrap up.
 12    that if you like. Pull that back up. I'm          12           MS. METZINGER: Sure.
 13    looking at an exhibit that was marked yesterday   13           MS. RUSK: Okay. Can we go off the
 14    as KL4. It                                        14   record briefly for five minutes?
 15                                                      15           VIDEOTAPE OPERATOR: Going off --
 16                                                      16   going the record at 12:46.
 17                                                      17           (A brief recess was taken.)
 18                                                      18           VIDEOTAPE OPERATOR: Going on the
 19                                                      19   record at 1 p.m.
 20                                                      20   BY MS. RUSK:
 21           Did you administer these qualitative       21      Q Mr. Lerner, I'd like to ask you just a
 22    measures -- wh- -- were these qualitative         22   couple of questions about a document that we
 23    measures administered at each testing session?    23   introduced yesterday which is marked as
 24       A That should say -- should say                24   Exhibit KL10. I would like to ask you as the
 25    "qualitative." You said "quantitative."           25   30(b)(6) witness about this document. And if you

                                                   142                                                      144
  1        Q Okay. Good. Thank you. I just -- I           1   recall you had compiled a list of data splits and
  2    just read it as qualitative, so okay.              2   analyses on the Madison Memory Study.
  3            Were those measures administered for       3          Do you recall that?
  4    every test session?                                4       A I recall seeing this yesterday, yes.
  5        A Those were the SurveyMonkey tests'           5      Q Okay. And if you could turn to the
  6    questions I had mentioned earlier --               6   second page of the Exhibit KL10, I would like
  7        Q Okay.                                        7   you -- to ask you, as a 30(b)(6) witness, whether
  8        A -- that were in each session.                8   the analyses listed on this list represent
  9        Q Okay. Great.                                 9   analyses that were done on the Madison Memory
 10        A I believe those were for each session,      10   Study data.
 11    yes.                                              11       A Yes.
 12        Q Do you know if there was any analysis       12      Q Okay. So for all of these subgroups
 13    done of the questionnaires?                       13   for AD8 score and gender and age seg- --
 14        A I believe that it wa- -- the data was       14   segregation, there was an analysis done for each
 15    al- -- analyzed. I do not recall the results.     15   of those subgroups; is that correct?
 16        Q Do you know if those -- if that             16       A Yes.
 17    analysis of the SurveyMonkey data was ever        17      Q Okay. When you were working on the
 18    written up in any papers on the Madison Memory    18   August 2016 synopsis, did the others involved in
 19    Study?                                            19   preparing that synopsis know about the other
 20        A I do not believe it was.                    20   subgroup analyses that have been done on the
 21        Q Okay. And you said you don't recall         21   data?
 22    the results on the qualitative measures?          22          MS. METZINGER: Objection.
 23        A No. I don't -- I don't recall any           23          I'm going to instruct Mr. Lerner not
 24    significant results. I don't -- I think I -- I    24   to answer that question on the grounds of
 25    would -- I believe I would remember them. I       25   attorney-client privilege and the attorney work

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                                                     145                                                       147
  1    product doctrine.                                    1    since your studies at Baylor?
  2            THE WITNESS: And I'm going to follow         2        A No, I have not.
  3    Counsel's instruction not to answer that             3        Q Okay.
  4    question.                                            4            MS. RUSK: With that, Counsel, I will
  5    BY MS. RUSK:                                         5    conclude for today. We are, because of the
  6        Q Okay. Fair enough.                             6    disputes that we've had, holding these two
  7            I just have one point going back to          7    depositions open until we can get those resolved
  8    Exhibit 41, which is the August 2016 paper that      8    either by meet-and-confer or with the Court's
  9    apparently I did not ask my question very            9    assistance.
 10    clearly, but on the Page 5 of the document, which   10            But I'd like to ask my co-plaintiff
 11    is the results write-up, I -- I did ask you, I      11    from New York whether she has any questions for
 12    know, about that first sentence, in the first       12    either the individual or the 30(b)(6) at this
 13    phrase "while no statistically significant          13    time.
 14    results were observed over the entire study         14            MS. MATUSCHAK: I do not have any
 15    population."                                        15    questions for today, but I agree with the
 16            My question for you is -- I just wants      16    objections that have been made to a lot of the
 17    to confirm that that's referring to results         17    instructions not to answer and claims of
 18    between the two treatment arms; is that correct?    18    privilege and work product. So -- so I will plan
 19        A I believe so, yes.                            19    to reserve the right to ask questions about this
 20            MS. RUSK: Okay. I am done with my           20    witness if and when he is brought back to testify
 21    questions, Counsel, for the 30(b)(6) deposition.    21    with respect to those topics.
 22    What I'd like to do is ask Mr. Lerner three or      22            MS. RUSK: Okay. Counsel for
 23    four questions as an individual, if you will        23    Mr. Lerner, do you have any questions for either
 24    permit that. I'm going back to his training and     24    the individual deposition or the 30(b)(6)
 25    past experience.                                    25    deposition that you'd like to ask today?

                                                     146                                                       148
  1            MS. METZINGER: I -- I think that's --        1          MS. METZINGER: I -- I would like to
  2    that's all right, yes. Just a cou- -- just --        2   take a few minutes to come to that conclusion, so
  3    you think it's just three or four questions you      3   maybe we can take a 15- or 20-minute break.
  4    said?                                                4          MS. RUSK: Sure. Do you want to
  5            MS. RUSK: Yes. Yes.                          5   resume at 2:30?
  6            MS. METZINGER: Okay.                         6          MS. METZINGER: That sounds great.
  7                    ***                                  7           MS. RUSK: Okay.
  8        (The following questions are in Mr. Lerner's     8           MS. METZINGER: Thank you.
  9    individual capacity.)                                9          VIDEOTAPE OPERATOR: Going off the
 10    BY MS. RUSK:                                        10   record at 1:07.
 11        Q Mr. Lerner, I want to ask you about           11           (A brief recess was taken.)
 12    your training in statistical analysis and           12          VIDEOTAPE OPERATOR: Going on the
 13    whether -- did you take any courses in statistics   13   record at 1:43.
 14    for your BS in microbiology?                        14       EXAMINATION BY COUNSEL FOR THE CORPORATE
 15        A I believe -- I believe there -- I had         15   DEFENDANTS
 16    a -- one or two courses there.                      16   BY MS. METZINGER:
 17        Q Okay. And did you take any courses in         17       Q Good afternoon, Mr. Lerner. I just
 18    statistics for your master's degree in genetics?    18   have a -- a few follow-up questions for you
 19        A No. There were no specific statistics         19   following up on Ms. Rusk's questions.
 20    courses.                                            20          Mr. Lerner, I'm first going to ask you
 21        Q Okay. And what about whether you took         21   to take a look at what has been marked as
 22    statistics courses for your studies in              22   Exhibit KL35. I can pull this up for you.
 23    neuroscience at Baylor?                             23          Do you recall discussing this document
 24        A No, no specific courses.                      24   with counsel for the FTC?
 25        Q Have you taken any statistics courses         25       A No.


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                                                    149                                                      151
  1       Q Okay. I just ask, can -- can you flip           1        A Yes. I do not remember all the tests.
  2    through the pages and see if you remember            2        Q And -- and how many Cogstate tests
  3    Ms. Rusk asking you any questions about this         3   were used in the Madison Memory Study?
  4    document?                                            4        A According to this document, there are
  5       A Oh, I'm sorry. Excuse me. I was                 5   nine there.
  6    thinking -- when you asked me your previous          6        Q Is there anything that you could do to
  7    question, I was thinking of you all as my -- my      7   confirm whether or not this is a final version of
  8    FTC counsel. I apologize.                            8   the Madison Memory Study -- final version of this
  9       Q Oh, no. I will only be asking you               9   write-up of the Madison Memory Study, or are you
 10    questions that relate to questions that Ms. Rusk    10   just not sure sitting here today?
 11    asked you over the last two days.                   11        A I -- I'm just not sure sitting here
 12       A Sorry. Yes, I remember this document.          12   today. This seems trivial but from the -- I
 13       Q And it was unclear from your earlier           13   think that looking at Page 1, if -- if you can go
 14    testimony whether the attachments that starts on    14   there, I -- I don't know if this is final. The
 15    Page 4 of this exhibit is a draft or a final        15   extra space after Taylor's middle initial
 16    version of a write-up of the Madison Memory         16   would -- it's something that stood out to me when
 17    Study.                                              17   I first saw this. So I don't -- I don't know if
 18           Can you tell from looking at this            18   it's final. But that space just jumped out at me
 19    attachment whether or not this is a draft?          19   as something that -- it jump right out of me, so
 20       A I believe this is a draft.                     20   I don't know if this is final.
 21       Q Can you now, please -- and I'll bring          21        Q Okay. I have no fur- -- sorry. Go
 22    this up on AgileLaw -- take a look at the exhibit   22   ahead.
 23    that has been marked KL37.                          23        A But that would -- I -- I -- I just
 24           Do you see that document, Mr. Lerner?        24   don't know if that's final given that -- seeing
 25       A Yes, I do.                                     25   that space there.

                                                    150                                                      152
  1        Q And do you recall discussing this              1           MS. METZINGER: Okay. I have no
  2    document with counsel for the FTC?                   2   further questions.
  3        A Yes.                                           3           MS. RUSK: Okay. So I think with
  4        Q Is this a final version of a write-up          4   that, Kate, did that trigger any other questions
  5    of the Madison Memory Study?                         5   for you?
  6        A I -- it's a version. I do not know if          6           MS. MATUSCHAK: No, it did not.
  7    it's a final version that was done at this time.     7   Thanks.
  8        Q I'd like you to turn to Page 5, and I          8           MS. RUSK: Okay. So I think we are
  9    can display that to you as well. And I would         9   going to -- for today, we are going to suspend
 10    like you to review the section that begins on the   10   but still hold open the individual and the
 11    bottom of Page 5 titled "Cognitive Measurement      11   30(b)(6) depositions in order to resolve the
 12    Tasks/Tools," and that section continues on to      12   dispute over some questions that we had for
 13    Page 6.                                             13   Mr. Lerner. And -- and, Counsel, we will be
 14        A Yes.                                          14   contacting you about how to proceed with the
 15        Q And you reviewed that entire section?         15   meet-and-confer or with reaching out to the
 16        A I skimmed over it. Yes, it goes over          16   Court.
 17    to Page 7.                                          17           MS. METZINGER: Okay.
 18        Q Okay. And specifically on -- on               18           MS. RUSK: We will send an e-mail
 19    Page 6, do you see a listing of the Cogstate        19   about that later today, and I think with that,
 20    tasks that were used in the Madison Memory Study?   20   Mr. Lerner, I would like to thank you for a very
 21        A Yes. They're -- they're listed in the         21   long two days and for your patience and
 22    second paragraph.                                   22   cooperation, and we can go off the record.
 23        Q Okay. And does this refresh your              23           VIDEOTAPE OPERATOR: This concludes
 24    recollection as to the number of Cogstate tests     24   today's 30(b)(6) deposition of Kenneth Lerner.
 25    that were used in the Madison Memory Study?         25   Going off the record at 1:49.

                                                                                          38 (Pages 149 to 152)
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  1    (Whereupon, the signature not having been waived,          1          DEPOSITION ERRATA SHEET
  2    the deposition concluded at 1:49 p.m.)                     2   Page No. _____ Line No. _____ Change to:
  3                 * * *                                         3   _________________________________________________
  4           ACKNOWLEDGMENT OF DEPONENT                          4   Reason for Change: ______________________________
  5                                                               5   Page No. _____ Line No. _____ Change to:
  6    I, Kenneth Lerner, do hereby acknowledge I have            6   _________________________________________________
  7    read and examined the foregoing pages of                   7   Reason for Change: ______________________________
  8    testimony, and the same is a true, correct and             8   Page No. _____ Line No. _____ Change to:
  9    complete transcription of the testimony given by           9   _________________________________________________
 10    me, and any changes and/or corrections, if any,           10   Reason for Change: ______________________________
 11    appear in the attached errata sheet signed by me.         11   Page No. _____ Line No. _____ Change to:
 12                                                              12   _________________________________________________
 13                                                              13   Reason for Change: ______________________________
 14    ______       ___________________________________          14   Page No. _____ Line No. _____ Change to:
 15    Date        Kenneth Lerner                                15   _________________________________________________
 16                                                              16   Reason for Change: ______________________________
 17                                                              17   Page No. _____ Line No. _____ Change to:
 18                                                              18   _________________________________________________
 19                                                              19   Reason for Change: ______________________________
 20                                                              20   Page No. _____ Line No. _____ Change to:
 21                                                              21   _________________________________________________
 22                                                              22   Reason for Change: ______________________________
 23                                                              23
 24                                                              24   SIGNATURE:_______________________________________
 25                                                              25       Kenneth Lerner

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  1   CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC           1          DEPOSITION ERRATA SHEET
  2          I, Tammy S. Newton, the officer before               2   Page No. _____ Line No. _____ Change to:
  3   whom the foregoing proceedings was taken, do                3   _________________________________________________
  4   hereby certify that the foregoing transcript is a           4   Reason for Change: ______________________________
  5   true and correct record of the proceedings; that            5   Page No. _____ Line No. _____ Change to:
  6   said proceedings were taken by me                           6   _________________________________________________
  7   stenographically and thereafter reduced to                  7   Reason for Change: ______________________________
  8   typewriting under my supervision; and that I am             8   Page No. _____ Line No. _____ Change to:
  9   neither counsel for, related to, nor employed by            9   _________________________________________________
 10   any of the parties to this case and have no                10   Reason for Change: ______________________________
 11   interest, financial or otherwise, in its outcome.          11   Page No. _____ Line No. _____ Change to:
 12          IN WITNESS WHEREOF, I have hereunto set             12   _________________________________________________
 13   my hand and affixed my notarial seal this 11th             13   Reason for Change: ______________________________
 14   day of August, 2020.                                       14   Page No. _____ Line No. _____ Change to:
 15   My commission expires:                                     15   _________________________________________________
 16   3/05/2022                                                  16   Reason for Change: ______________________________
 17                                                              17   Page No. _____ Line No. _____ Change to:
 18             s/Tammy S. Newton                                18   _________________________________________________
 19             Notary Public in and for the                     19   Reason for Change: ______________________________
 20             State of Maryland                                20   Page No. _____ Line No. _____ Change to:
 21                                                              21   _________________________________________________
 22                                                              22   Reason for Change: ______________________________
 23                                                              23
 24                                                              24   SIGNATURE: ______________________________________
 25                                                              25        Kenneth Lerner


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